 

Case 7:15-cv-OO465 Document 1-13 Filed in TXSD on 11/06/15 Page 1 of 50

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Ps.lA isn T-sTEM EARLY cou.EGE man sci-loot toto MEMoRrAL lvlloDLE scHooL) - PHAsE 1

RENOVAT|ONS AND ADD|TIONS COMPET|T|VE' SEALED BlD # 09-10-006
B|D OPEN|NG: NlARCH 24, 2010 @ 4:00P.M.

28. Venue:

The parties agree any dispute or litigation that may arise in the execution and/or performance of
this co'ntract, venue for all proceedings, judicial or otherwise, shall be proper in a State Distrlct
Cour-t Hidalgo, County Texas.

29. |ndemnification:

The District will not indemnify and/or hold harmless, an entity from any and all damages that an
entity may become liable for as a result of the execution and performance of this contract,
including but not limited to court costs, fees, fines, and/or attorney fees.

30. Arbitration:

The District will not enter into a contract that includes arbitration language.

31. Choice of Law:
The parties agree Texas laws will apply in resolving or litigating a dispute.
32. Vendor ¥ear 2000 Comp'llan'ce:

Any software, firmware, or hardware purchased by any member of the District from any
awarded bidder under this contract shall accurately perform date-related operations when given
a valid date containing century, year, month and day. The accurate operation of the software
shall ensure that ('1) calculations using dates must execute correctly using a four digit year, (2)
on-line and batch functionality, including, but not limited to entry, inquiry, maintenance, and
update must support four digit year processing (3) user and data interfaces and reports must
support four digit year processing, (4) successful transition into year 2000 with the correct
system date (e.g. 1/1/2000) is supported without human intervention, (5) processing with a four
digit year after transition to and beyond the year 2000 is provided, including backward data
compatibility, and (6) correct results in forward and backward data calculations spanning
century boundaries,_ including leap years are provided.

33. Waiver:
No claims or rights arising out of a breach of this contract can be discharged in whole or part by

a waiver or renunciation of the claim or right unless the waiver or renunciation is supported by
consideration and is in writing signed by the aggrieved party.

24

 

Case 7:15-cv-OO465 Document 1-13 Filed in TXSD on 11/06/15 Page 2 of 50

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PsJA isn T-s'rE\vi EARLV coLLEGE HlGH scHooL (oLo MsMo'RlAL ivnooLE scHooL) - PHAsE 1

RENOVAT|ONS_AND ADD|T|ONS COIV|PET|T|VE SEALED BlD # 09-10-006
BlD OPENlNG: IVIARCH 24, 2010 @ 4:00P.lVl.

34. interpretation - Paroi Evidence:

This writing is intended by the parties as a final expression of their agreement and a complete
and exclusive statement of the terms of their agreementl No course of prior dealing between
the parties and no usage of the trade shall be relevant to supplement or explain any terms used
in this agreement Acceptance or acquiescence in a course of performance rendered under this
agreement shall not be relevant to determine the meaning of this agreement even though the
accepting or acquiescing party has knowledge of the performance and opportunity for objection.
Whenever a term defined by the Texas Business & Commerce Code is used in this _agreernent,
the definition contained in the Code shall be controlling

35. Right to Assur~ance:

Whenever one party to this contract in good faith has reason to question the other party's intent
to perform he may demand that the other party give written assurance of his intent to perform.
'|n-~the~event that a demand is made and no assurance is given within five ..¢(5) ..clays, 1 the
demanding party may treat this failure as an anticipatory repudiation of the contract.

'36. Extension / Non-Appropriati`ons Clause:

Thls contract maybe renewed for (1) one additional year if the vendor and the District mutually
agree and no increases in costs are incurred except for the growth. ivan-appropriations for
renewal 'of contract will also be in accordance with the Local Government Code 271.005 (b)
concerning non-appropriation clauses for multi-year contracts Each participating local
government member reserves the right to rescind the contract at the end of the fiscal year if it is
determined that funding is not available to extend the contract.

37. Proposa| Acceptance:

The period for acceptance of this proposal will be sixty (60) calendar days unless a different
period is indicated by the bidder.

38. insurance Requirements:

To protect the district and it's employees against liability, loss or expense on account of damage
to property or injury or death to any person or persons arising in any way out of or in connection
with or resulting from the work provided hereunder, bidder shall procure and maintain, at its
sole expense and until acceptance of the work by the district, insurance as hereinafter
enumerated in policies which shall be subject to the district's approval as to form, amount and
issuing company. Amounts listed are minimum.

25

 

Case 7:15-cv-OO465 Document 1-13 Filed in TXSD on 11/06/15 Page 3 of 50

PHAR%§§N§¢MHLAMQ i.s.o.
PsJA isn 'r-srelvl EARLY coLLEGE men sci-loot toto rv\ErvronlAL ivnooLE scHooL) - PHASE 1

RENOVAT|ONS AND ADD|T|ONS COMPET|T|VE SEALED BlD # 09~10-006
BlD OPENlNG: NlARCH 24, 2010 @ 4:_00P.N|.

Bidder must carry and provide proof of insurance which meets the requirements established by
the Pharr-San Juan-Aiamo independent Schoo| District. Proof of insurance coverage must be

submitted with bid. This insurance is raggired only for work done on sghooi district property

|NSURANCE REQUIREN\ENT_S:

Workman's Compensation Statutory Limits
Emp|oyer’s Liabiiity $ 500,000 each accident

$ 500,000 policy limit

$ 500,000 each employee
General L|abllity $ 500,000 Combined Single
Bodily injury & Property Damage Limits / $1,000,000 Aggregate
Automotive Liabi|ity $ 250,000 each person
Bodily injury - $ 500,000 each accident /
Property.Damage . . $,250,,000

39. installation (When applicabie):

The successful bidder shall provide the following services and requirements at no additional cost
above the initial bid price on equipment or furniture'. Provide transportation of the items to the
building, locating the items in the proper location within the building, uncrating, complete
assembly and adjustment by a trained installation mechanic and removal of ali debris. Set in
place, make the machine ready, start up, analyze and correct any malfunction of the equipment
Provide ali materials, equipment and labor to place machinery in top operating condition or to
fully assemble furniture

40. inquiries and lnterpretations:

Responses to inquires which directly'affect an interpretation or change to this bid / proposal will be
issued in writing by PSJA iSD as an addendum. Vendors WILL NOT be notified of additional
information / addendum postings. it is the vendor’s responsibility to view the web page regula~riy,
or prior to submitting a bid / proposal response, to ensure that no addendum or additional
information have been issued for the solicitation All such addendum issued by PSJA iSD prior to
the time that bids are received shall be considered part of the bid / proposai.

41. Evaiuation Factors and Criteria
Offerors are required to provide all requested information set forth beiow. Failure to provide
requested information or omissions of requested information may result in Pharr~San iuan-

Aiamo independent School District determining that the offeror’s bid is non~responsive and can
result in disqualification of bid.

26

Case 7:15-cv-OO465 Document 1-13 Filed in TXSD on 11/06/15 Page 4 of 50

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PsiA isn T-sTEM EARLY coLLE.GE HlGH scHooL (oLo MEN\oRlAL Mioouz scHooL) - PHAsE 1

RENOVAT|ONS AND ADD|TIONS CON|PET|T|VE SEALED BlD # 09-10-006
BlD OPENiNG: MARCH 24, 2010 @ 4:00P.Nl.

Offerors will be evaluated on criteria 1 through 5 with a maximum of 100 total points. Th'e
evaluation committee comprised of District staff will evaluate the bids. The district shall
document the basis of its selection and shall make the evaluations public not later than the
seventh day after the date the contract is awarded The committee will present its
recommendation to the Board. The Board of Trustees retains the right to award or reject ali bids
in their entirety.

The District retains the right to apply ali criteria as appropriate and allowed in Education Code
44.031 section (b), The District specifically requests offeror’s to answer or provide information
according to the following selection criteria Questions left unanswered will result in zero (`0)
points awarded

_Criterion 1: Offeror's proposed price ($ection 44.03'1 (b) (1) and (7). {65 points awarded for this
area) .

Offerors must submit the completed Bid Fo'rm, B`ld Bond, lnsurari`ce, and other forms required
lVIust also submit estimated subcontractor list and schedule of volues.

Criterion`Z:; Offeror's Time to complete the project (S`ec-t_ion 44.031 (b) (4), (7), and (8)). (10
points awarded for this area)

Offerors must complete proposed days to completion portion of the bid. The contractor must
submit a timelineer completion of the project together with the bid.

Crite'rion 3: Offeror's experience with public entity and/or commercial projects of similar size,
s'cope, and/or complexity (Section 44. 031 (b) (8). (10 points awarded for this area)

List projects, completed or ongoing of similar size, scope, and/or complexity to this project where
your company was the general/prime contractor of recordl Please list projects in chronological
order, beginning with the most recent, using the following format and example

 

 

 

Proj|ect Project Location Owner Architect C'ontract Unique Completion
Name Size in Representative Amount Features/ Date and
Sq Ft that dealt with complexity Days to
Construction Comp|etion
ABC 85,000 City, ST l\/lr. Smith Architect $1,000,000 Llst details December
Project Address Address 31, 2009 l
for X Phone # Phone # (500 Days)
Schooi

 

 

 

 

 

 

 

 

 

27

 

Case 7:15-cv-00465 Document 1-13 Filed in TXSD on 11/06/15 Page 5 of 50

C-5149-14-H
PHARR-.SAN JUAN-ALAMO |.S.D.
PS.|A lSD T-STEM EARLY COLLEGE HIGH SCHOOL (OLD |VlEMORlAL lVllDDLE SCHOOL) - PHASE 1
R£NOVAT|ONS AND ADD|T|ONS COMPET|T|VE SEALED BlD # 09-10-006
BlD OPEN|NG: |VlARCH 24, 2010 @ 4:00P.M.

Crlterion 4: Proposed on site Project Foreman 4 Offeror's proposed Pro]ect Foreman
Management experience on public entity and/or commercial projects of similar size, scope,
and/or complexity ($ection 44.031 (b) (8). (5 points)

'P/ease provide the name of the project foreman(s), project, date compieted, contract amount,
and capacity served on the projects where project foreman has demonstrated experience
managing subcontractors on construction projects of similar size and complexity in the format
beiow.

Proj'ect Foreman Name: John Doe

 

 

 

 

 

 

 

 

Project Project Capacity Owner R`ep Contract Unique Comp|etion
Name and Size in Serve`d that dealt Amount Features/ Date and
Location Sq Ft with Complexity Days to
Construction Comp|etion
ABC Project 85,000 Project l\/lr. Smith $1,000,000 List Details .|anuary 5,
City Foreman Address 2009
St Phone # (300 days)

 

 

Criteri'on 5: Reputation and Quality of the vendor (contractor) and of the vendors goods or
services (Section 44.031 (b) (2), (3), and (8) (10 points)

Provide a list of (up to ten) comparable projects completed or ongoing within the last ten years.

 

Project Name

Date Comp|eted

Total Value of Pro]ect

 

ABC School

 

January 1, 2009

 

$5,000,0.00

 

 

Provide a list of any projects located in the Rio Grande Va~lley (past or present) performed by the
entity, its principals, or the proposed job superintendent

 

 

Project Name

Date Comp|eted

Total Va|ue of Pro]ect

 

ABC School

 

January 1, 2009

 

$5,000,000

 

Provide a list of any P$JA iSD projects performed at any time by the entity, its principais, or the
proposed job superintendent

 

 

 

Project Name

Date Comp|eted

Total Va|ue of Pro]ect

 

ABC School

January 1, 2009

 

 

$5,000,000

 

Maximum Total Points to be awarded 100.

28

 

 

 

 

 

inlt.

 

Case 7:15-cv-00465 Document 1-13 Filed in TXSD on 11/06/15 Page 6 of 50

C-5149-14-H

*YEAIA Document A101TM - 2007

Standard Form of Agreement Between Owner and Contractor where the basis of

payment is a Siipulated Sum

AG R_EEM ENT made as of the Fourth day of May i.n the year 2010
(In words, indicate day, month and year.)

BETWEEN the Owne`r:
diame, legal status, address and other information,i

Phax'r-San .iuan-A_lamo lndcpcndent School District
P.O. Box 769

Pharr, Texas 78577

Telephone Numbor; (956) 702~5617

_ Fax-Numbc'r: (956) 783-2257

and the C`ormactor:
(Name, legal siatus, address and other informalion)

Texas lDi:s'con, L._P.' by Dcscon '4S,' L'.L.G.
It’s Gencr`ai Partncr

P.O. Box 354'7

M_cAllen, Texas 78502-3547

Tclo_phone Nt:mbt‘.r: (956) 1582-1225

Fax Numi:ier: (955) 682~'?369

for the following Project:
Warne, location and detailed description)

_ .PSJA ISD T-Stcm Early Colicge High School (Old Mcmorial Middl_e Schooi) Phase l
v chovations & Additions

The Architect
Wame, legal statusl address and other information)

ERO Intcrnational, LLP

dba ERO Architects

300 s. s“‘ street

McAIlen, Texas 78501

Tciephonc Numbcr: (956_) 661-0400
Fax Numbcr: (956) 661~0401

The OWner and ConiIactor agree as foilows.

ADD\T|ONS AND DELET|ONS:
The author of this document has
added information needed fo`r lis
completion The author may also
have revised the text of the original
AiA standard form. An Addiiions end
Deletlons Report that notes added
information as well aa revisions to the
standard form text is available from
the author and should be reviewed A
vertical line in the left margin of t_his
document indicates where inc author
has added necessary information
and where the author has added to cr
deleted irom ih_e original A|A text

This document has important legal
consequences Coneuiialion with an
attorney is encouraged with respect
to its completion or modificationl

AiA Document A201““-2007,
Gonera| Condllions of the Contract
for Conetruction‘. is adopted ln this
document by referencel Do not use
with other general conditions unless
this document is modified.

 

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Case 7:15-cv-OO465 Document 1-13 Filed in TXSD on 11/06/15 Page 7 of 50

C-5149-14-H

TABLE OF ART|CLES

1 1 THE CONTRACT DOCUM ENTS

2 THE woR`K orrnis coNrRAc'r

3 DATE OF COMMENCEMENT AND SUBSTANT|AL COMPLET|ON

4 CONTRACT SUM

5 PAYIV|ENTS

6 DiSPUTE RESOLUT'iON

7 TERMlNATlON OR SUSPENS|ON

8 MiSCELLANEOUS PROV|S|ONS

9 ENUMERAT|ON 0F CONTRACT DOCU,MENTS

10 iNSURANCE AND BONDS

ARTlCLE ‘1 THE CUNTRACT DODUMENTS

The Controct Documcnts consist of thin Agrcomcnt, Conditions oithr:. Contract (Gcncral, Supplcmcntary and other
Conditions), Drnwings, Specifications, Adrlcnda issued prior to execution of this Agrcemcnt, other documents listed
in this Agrccmant and Modifrcations issued after execution ui` this Agrccnicnt. all oi` which form the Contract, and arc
ar fully a part of thc Contract ns if attao}_icd to thin Agrcc_mcnt or repeated heroin Thc Contract represents the entire
and integrated agreement between thc parties hereto-and supersedes prior ncgotictiona, representations or ngiccmcnts,
either written or oral. An enumeration of thc Contract Documcnts, other than a Modificution, appears in Article 9.
ART|CLE 2 THE WORK OF THlS CDNTRACT

The Contractor shall fully execute thc Worlr. described in th"e Contract Documents, except as speciicnlly indicated in
thc Contract Documents to be the responsibility of other's.

ARTiCLE 3 DATE OF COMMENCEM ENT AND SUBSTANT\AL_ COili| PLETIDN

§ 3.1 The date of commencement of thc Work shall bc the date of this Agrccment unless a different date is stated
below or provision is made for thc date to bc fixed in n notice to proceed issued by the Owncr.

(.'Insert the date cf commencement if it dweer from the date of this Agreement cr', if applicablel state that the date will
bcfrxcd in a notice to proceed.)

The commencement date will be fixed in a notice to proceed.

If, prior to the commencement oftt\e Work, thc Owncr requires time to file mortgagee and other security interests, the
Owner’s time requirement shall be as follows:

N/A

§ 3.2 The Contract Time shall be measured from the date of commencementl

1 § 3.3 'I`i:lc Cnntrnctor shall achieve Substantial Complction of thc entire Wori~r not later than days from tire date of

connncnccmcnt, or ns foiinws:

{I`nsarr number ofcr:lcndar days. Altcr'nctively. c calendar date may be used when coordinated with rita date of
commencement if appropriate insert requirements for earlier .S‘ui)stantial Compicrt`on ofcen‘ai)r portions oftlrc
Work.)

 

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Case 7:15-cv-OO465 Document 1-13 Filed in TXSD on 11/06/15 Page 8 of 50

C-5149-14-H

§ Complete Mein Clessroom Bl.ii]ding, Library‘ North & Eost parking areas and East Bua Dropoff in Two hundred end
_` Forty (240) calendar days from Notice to Procced and the remaining site work in an additional Or_tc hundred and
z twenty (120) calendar days B'om Notice to Procecd. Total 360 calendar days.

Portion ofWork Substant|a| Comp|et|on Date

, subject to adjustments of this Contrect Time as provided in thc-Contreet Docurnents.
(Inser: provi.s‘£ons, z_`fc:ny. for liquidated damages relating tofoi`lore so achieve .§‘ub.vtantial Completion on lime orfor
bonus paymenr.irji)r' early completion ofr}:e Work.,l

| N/A

ARTiCLE 4 CONTRACT SUM

§ 4.1 The Owner shall pay thc Contraotor the Cono'ect Sum io current funds for thc Contmctor‘s performance of the
Contract. The Contrect Sum shell be Eight Million Eighty chcn 'l`llous£md Dollars and Zero Cents

($ 8,08'?,0(]0.00 ), subject to additions and oeducticme as provided in thc Comroct Documcnts.

§ 4.2 The Coiiu'ect Som is based upon thc following alternates, if any, which arc described in the Contract Docu`mcuts
and arc hereby accepted by the Owner:

(.S‘tote the numbers or other idenéy’:`co!ior: ry accepted olrei'nares. Iftke bidding or proposal doctor-serio permit the
Owner xo accept other ofterootes subsequent to the execution ofzhi.t' Aé,o'eemeo!, atwell a schedule ofsoch other
alternates showing the amount for each and the date when that amount expires.)

\ Altemate #l‘. Generator & Tran`sfer Switch

§ 4.3 Unit priccs, if any: _
adean and stare the amtrprice; state quantity limitations, if any, to which the unit price Will be applicable.)

item Untts and leitations Prlce Per Unlt ($0.00)
l N/A

§ 4.4 Allow.:mces included in the Cootract Suro, if tmy:
(Ide):ti]j) af!owonce and store exclusioos, §frm_v, from the allowance price.)

item Price
Cons\:ruction Contingency Allowance $1.90,000.00

Civil Engineer’s Standard chcl of Care $50,000.00
Allowancc:

Structural Engincer’s Standard chel of $75,000.00
Care Al_lowance

Landscape and Irrigation Allowence $45,000.00
Soils Testin'g Allowance $25,000.00
Concrete Testin'g Allowance $40,000.00
Plumbing Standerd Level ofCare $10,000.00
Allo`wance

HVAC Stimdu.rd Level of Carc Allowance $40,000,00

 

 

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Case 7:15-cv-OO465 Document 1-13 Filed in TXSD on 11/06/15 Page 9 of 50

C-5149-14-H

Electrical Stnudcrd Level of Care $30,-000.00
Allowance

AR-T|CLE 5 PAYMENTS

§ 5.1 PROGRESS PAYMENTS

§ 5.1.1 Bascd upon Applications for Pnymeut submitted to the Architect by the Coutractor and Certiiicates for
l’aymcnt issued by the Architect, the 0wncr shell make progress payments on account of the Connnet Suxn to the

Contnictor as provided below and elsewhere ia the Conlract Docurn"ents.

§ 5.1.2 The period covered by each Application for Payment shall be one calendar month ending on the last day cf the
month, or as follows:

For billing purposes, the calendar month shall end on the 25“' day of the month

§ 5.1 r3 Provided that an Application for Paymcni is received by thc Architect not inter than the Twcnty~liilh day of a
month, the Owner shall make payment of the certified amount to the Conrrc.ctor not later than thc following montti. Il'
an Application for Paymcnt is received by the Architect alter the application date lined above, payment shall be mode
by the OWner not later than the second week o'l` the next month days siler the Architect receives the Application for
Paymcnt.

(Federol, state or local laws may require payment within a certain period oftime.)

§ 5.1.4 Each Applicau'on for Payment shell be based on the most recent schedule of values submitted by the Contraotcr
in accordance with the Contrnct Documenis. The schedule of values shall allocate the entire Coniract Surn among the
various portions of the Work. The schedule of values shall he prepared in such forro and supported by such data to
substantiate its accuracy as the Architect may rcquirc. This uchcdule, milch objected to by the Aroliltcct, shall be used
us a basis for reviewing the Coniraotor‘s Applications for Payment.

§ 5.1.5 Applications ["or Payment shall show thc percentage of completion of each portion ofthe Worlc as of the end of
the period covered by the Application for I’ayment.

§ 5.1.6 Subject to other provisions of thc Contract Documents, the amount of each progress payment shall be
computed as followa:

.1 Tnlce diaz portion of the Contract Suln properly allocable to completed Work ss determined by
multiplying the percentage completion of each portion of the Worlt by the share of the Concract Sum
allocated to that portion of the Work in the schedule of valucs, less retainage of percent (S'%).r?af‘j
Peuding final determination ot`cost to the Owner of changes in the Worlr, amounts not in dispute shall
be included as provided in Scction ?.3.9 of AIA Docurncnt AZOlW_ZOG'l, General Conditions of the
Contract for Consn'uction;

.2 Add that portion ofthc Conn'act Surn properly allocable to materials and equipment delivered and
suitably stored at thc site for subsequent incorporation in the completed construction (or, if approved in
advanceby the Ownc suitably stored ol'fthc site st a location agreed upon in writing), less retainage of
percent (§'%}

Subl.ract the aggregate of previous payments made by thc Owncr; and
Subtr_act arnounts, if any, for which the Architect has withheld or nulliiicd a Cercificatc for Payment as
provided in Scctio'n` 9,5 cf AIA Dccumcnt A201-2007.

hip

§ 5.1.7 The progress payment amount determined in accordance with Scction 5.1.6 shall be further modified under the
following circumstancea:
.1 Add, upon Substc.rttial Complction of the Worlt, a sum sufficient to increase the total payments to the
full amount of the Conu'act' Sum, less such amounts as the Architect shall delcnninc for incomplete
Work, totalitan applicable to such work and unsettled claims; and
{Secti'on 9.8.5 of/UA Docwncnr dwi-2007 requires release ofopplicable retainage upon Sub.s'tantiol
Complel:'on of Worlc with consent ofsurel_v, U`ooy.)
.2 Add, ii`fmel completion ofthe Worlc is thereafter materially delayed through no fault cf the Contractor,
any additional amounts payable in accordance with Section 9.10.3 of AIA Document A.?Ul-?.OO'?.

§ 5.1.B`Reduction or limitation of retainagc, if any, shall be as follows:

 

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Case 7:15-cv-00465 Document 1-13 Filed in TXSD on 11/06/15 Page 10 of 50

C-5149-14-H

(lfil is intended prior to Subslonllol Conrplerl`on ofllle entire Work. to reduce or limit the retainage resultingfrr)m the
percentages inserted la .S`ccliorrs 5..!. 6. l ono' 5, l.6.2 above end this is nor explained elsewhere in the Coutrocr
Doctrmems, insert here provisions jbr snell reduction or limitation.}

l Reduction of retainage shall occur upon final acceptance of project

§ 5.1.9 Except with the Owncr‘s prior approvnl, the Contractor'shall not make advance payments to suppliers for
materials or equipment which have not been delivered and stored at the site.

§ 5.2 F|NAL PAYMENT
§ 5.2.'1 Fi.nal payment constituting the entire unpaid balance ot` thc Contract Sum, shall be made by the Owner to thc
Contractor When
.1 the Contractor has fully performed the Contraet except for the Contraetor's responsibility to correct
Worir ss provided in Seetien 12.2.2 ot`AlA Document AZD 1~2007, and to satisfy other rcqnirements, if
any. which extend beyond fatal paymcnt; and
.2 a iinal Cct'tificate for Payment has been issued by the Architect

§ 5.2.2 The Owner’s final payment to the Contra.ctor shall be made no later than 30 days alter the issuance of the
Architect’s final Certitleete for Payment, or as follows:

N/A =

ART|CLE 6 D|SPUTE RESOLUT|ON

§ _6.1 lNlTlAL DEClSlON MAKER . _ , _ _ , __
The Architect will serve ns Initial Decision Malcer pursuant to Section 15.2 of AIA Document A201-2007, unless the
parties appoint below another individual, note party to this Agrecment, to serve ns Initial Decision Mckcr.

(Ifthc parties critically agree insert the name address end other content lrpbrmoriou nfrlie Inin’ol Decz`sion Maker, if
other than the Architect.)

§ 6.2 B|NDING DISPUTE RESGLUT|ON

For any Cln.irn subject to, but not resolved hy. mediation pursuant to Section 15.3 of AlA Document A201-2007, the
method of binding dispute resolution shall be as fnllows:

(C.'hcclc the appropriate box. y`rhe Owner and Comrnctor do nor select n method of binding dispute resolution below,
or do not subsequently agree in writing to o binding dispute resolution method other leon litigation Cloz':us will be
resolved by litigation in cr court of competent jnrf.ro'z‘crion.)

[ ] Litigation in a court of competent jurisdiction

[ ] Other (Specij§/)

ARTiCl_.E 7 TERM|NAT\ON OR SUSPENSION
§ 7.1 The Contract maybe terminated by the Owner or the Contractor as provided in Articlc 14 of AlA Document
A201-200'7.

§ 7.2 The Work may be suspended by the Owner as provided in Article l4 of AlA Document AZOl-ZOO'Z;

 

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Case 7:15-cv-OO465 Document 1-13 Filed in TXSD on 11/06/15 Page 11 of 50

C-5149-14-H

ART|CLE 8 MlSCELLANEOUS PROV|S|ONS

§ 8.1 Where reference is made in this Agreement to a provision of AIA Docnment A201-2007 or another Contraot
Document, the reference refers to that provision as amended or supplemented by other provisions of the Contract
Documents.

§ 8.2 Payments due and unpaid under the Contract shall bear interest from the date payment ia due at the rate stated
below, or in the absence thereof at the legal rate prevailing from time to time at the place where the Projecl is located.
(Insert rate of interest agreed upon, ifany.)

Six Per'cent (6) %

§ B.3 The Owner’s representatives
(Name, address and other ioformatlon)

Dr. Dariiel Kiog, Sirperintcndent of Seliools
Pharr-San Juan¢Alarno lndepenclent School District
P.O. Box 769

Pharr, Texas 78577

Telephone Number: (956) 354-2000

Fax Number: (956) 702-5648

§ 8.4 'I'he Cootraotor’s representative
{Name, address and other iriformorlon)

Michael D. Smith, President

Texas Descon. L,P. by Deseon 4S, L.L.C.
It‘s Generel Purtner

P.O. Box 3547.

McAllen, Toan 78502 ‘

Telephone Nnmher: (956) 682-1225

Fax Number: (956) 682~7369

§ 8.5 Neither the Owner’s nor the Contractor’s representative shall be changed without ten days written notice to the
other party.

§ 8.6 Other provisions:
N/A
§ 8.7 The Contraotor must sign a completion certificate required by the Texas Eclncation Agency. 19 TAC 61.1036,

§ B.B TIME FOR l‘AYMENT BY GOVE`RNMEN’I`AL ENTTTY. (e) Exocpt as provided by Snbscetiort (b)_, a payment
by a governmental entity under a contract executed on or after September 1, 1937, is overdue on the 31’t day alter the
later of:

(l) the date of governmental entity receives the goods under the oontraot;

{2) the date the performance of the service under the contract is complete', or

(3) the date the governmental entity receives an invoice for the goods or service

(b) A payment under a contract executed on or atter September l, 1993, owed by a political subdivision whose
governing body meets only once a month or less frequently is overdue on the 46°' day alter the later event
described by `Subseetions (a)(l) through (3).

Tex. Gov. Code 2251.021

§ 8.9 TIME FOR PAY'MENT BY CO`NTR.ACTOR. (a) A con tractor who receives a payment from a governmental
entity shall pay a subcontractor the appropriate share of the payment not later than the l(l‘h day alter the date the

_ contractor receives payment

 

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Case 7:15-cv-OO465 Document 1-13 Filed in TXSD on 11/06/15 Page 12 of 50

C-5149-14-H

(b) The appropriate share is overdue on the ll‘]1 day after the date the vendor receives the payment
Tex. Gov. Code 2251;022

§ B.‘lllThe Contractor will assert in s written format the main partners and/or owners are not in arrears on child support
psyments, pursuant the Toan I"amily code 231.006.

§ 8.11 in addition to other types of insurance required by this contract for the current project, the Contrs.ctor is required
to provide workcr's compensation insurance

§ 3.12 'l.'his contract incorporates the requirements enumerated within sections 22.0834 and 22.085 oi`the Texas
Edncation Codc. Spcoitlcally., the Contraetor will agree to disclose and submit to PSJA ISD prior to commencing
work on a project, a doc\nnent that will allow it to order the criminal history of each employee who will have

_ continuing duties related to the contracted services and that has or will have direct or indirect contact with students

Further, the Contrsctor will provide ]’SJA ISD with advance notice that a person or nn owner or operator oi" the
business entity has been convicted of a fclony. The notice must include a general description ofthe conduct resulting
in the conviction of a felony. The Contractor understands PSJA ISD may terminate a contract with a person or
business entity if PSJ.A ISD determines that the person or business entity Fa.iled to give notice as required by
Subsection (a) of the Texas Bducatlon Code 44.034 or misrepresented the conduct resulting in the conviction Tex.
Bd. Code 22.0834, Ter.. Ed. Code. 22.085 and Tcx. Ed. Code 44.034.

§ B.13T]1e Ccntractor will bc responsible to clean up the project site to the satisfaction oi"PS.IA ISD. This includes, but
not limited t_o_ what is found within AIA 201-2007 related to cleaning up. Tberei`ore, in addition to the requirements

l established widaiu AlA 201-2001 the Contrsctor will also clean all stufaces, polish all Iinisltes, remove all adhesives

and stickers, rernovc.all trash and deln~is, replace air iilters, remove obstructions from drains and repair ali damage
that occurred during cleanup.

§ 8.14 The Contractor understands the Owner does not warrant or guarantee that accuracy or completeness of the
Architect’s plans or speoiiications. Further, no third party may acquire any rights under this contract.

§ B.‘15'.[l:te Contractor will be required to provide PSJA lSD‘s stai’i:`, including Board oi` Trustees, Superi.ntendent and
other employees with status and all aspect of tile projeot, including but not limited to details and problems associated
with the project Additionally, the contractor may be required to be present during school board meetings and be
prepared to discuss all aspects of the project

§ 8.18 The Conn'actor will be expected to comply with all statc, federal, county and local governmental 1aws,
ordinances and regulations as dictated by the city and county where the project is located

§ B.‘l? The Contactor will provide PSJA lSD with criminal background checks of its cnaployr:esl workcrs, and agents
Further, if it is found that one of thc Conttcctor’s employees, workers, agents, contractors or sub-contractors is
convicted ofa felony or a misdemeanor involving moral turpitude, that individual will not be allowed to work on PSJA
ISD’s property or a location where students arc present or likely to be present

§ 3.18 Contractor shall obtain a criminal history information required by Texcs Education Code Chapter 22 regarding
“Covcred tnnployees." Contractor will also provide written certification ol` compliance before starting work.
Contractor will not assign or immediately removc any employee with a disqualifying history to work on the project
Ccn_trstctor will remove or not allow any of its employees, agents, or subcontractors convicted of a felony and!or
misdemeanor involving moral turpitude from owner’s property or a location where students are likely to be present
Further, Contractor will immediately remove an ernployee, agent or sub-contractor from owner’s property if that
person is harassing another person, a school district ernployee, student, parent or any other individual present on

owner’s property.

ART|CLE 9 ENUMERAT|ON OF CONTRACT DOCUMENTS
§ 9.1 The Contract Documents, except for Mocliiications issued after execution of this Agrecmcnt, are enumerated in
the sections below.

 

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Case 7:15-cv-OO465 Document 1-13 Filed in TXSD on 11/06/15 Page 13 of 50

C-5149-14-H

§ 9.1.1 The Agreemcnt is this executed AIA Document A101“2007, Standard Form oi`Agreement Between Owner
and Contractor.

§ 9.1.2 The General Conditions are AIA Document A201-2007, General C'onditions of the Contract for Construction.
§ 9,'1.8The Supplemcntary and other Conditions of the Conlract:

Document Tlt|e Date Pages
AlA Document General Conditious of Mar¢h 30, 2010 40 pages
A201~2007 the Contract for

Construc'ci,on between

Pharr-Sun Iuan~Alamo

Indepen'dent School

District and Conlract'or

§ 9.1.4'[`11¢ Speciiiea_tions: l
(Ei!her list the Speeéjications here or refer to an exhibit allcrched to this Agreement.)
EXI~H.‘BlT A

Section Title Date Pages

§ 9.1.5 The Drawings:
(Eilher list tile Drawings here or refer to an exhibit attached to this Agreement.)
EXI_UBIT B

Number Tltle Date

§ 9.1.6TheAddenda, ifany.

Number Date Pages
Addcnda No. 1 Ma.rch 12, 2010 8 pages
Addenda No. 2 March 24, 2010 107 pages
Addenda No. 3` March 30, 2010 12 pages
Ad`den`da No. 4 ' April 5, 2010 50 pages

Portions of Addenda relating to bidding requirements are not part of the Contract .Documents unless the bidding
requirements are also enumerated in this Artielc 9.

§ 9.1.7 Additional documents, if any, forming part of the Contract Documents:

.1 AIA Document EZOlTM-ZOO’?, Digital Data Prolocol Exhibit, if completed by the parties, or the
following

.2 001-er doeuments, if eny, listed bclow:
Q.'i:lr here any additional documents thai are imerldea' m form parr qfrhe Commc! Dr)cuments. AIA
Documerr¢ 11201-2007 provides time bidding requirements such as advertisement or i::virc:rion to bid,
Insrmcrions re Bidders, sampleforms and rha Cr)mmc¢or's bid are nor part qfthe Conrmer Doc.umenr.s~
unless enumerated in this Agreemem. Fl:ey should be ii.\"red here only :j“intendeci m he part offhe
Contracr Documents.) ‘

Performancé Bond
Payment Bond
130ch of Atlui‘ney

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Case 7:15-cv-OO465 Document 1-13 Filed in TXSD on 11/06/15 Page 14 of 50

C-5149-14-H

Certi‘dc'ate of Liability Insura.nce
Notice to Proceed
Certiiicate of Worker’s Compensation Insurance
Certiftcate of Gene.ral Liability
. Certiiicaie of Antomobile Insurancc
Ceriiftcate of Proi`essional Liability¢errors and omissions insurance

.3 Ccnslruetion ConLrttct with public entitch in Texns must specify prevailing wage titles for construction
workers. Tex. Gov‘t Code 2258, et. Seq; Tex. Lni:. Code 62.051. The Contrcctor's rates must not be
less than the general prevailing rate of per diem wages in the location where the work is being
performed The Districi‘s prevailing wage rate for (l] workers is: , (2) laborers is:

(3) construction workers is: . 'l"hesc rates arc at or above I'SJA lSD’s
published rates. Pcualties arc assessed against contractors who lacy less that the Disnict’s published
prevailing wagon The penalty for a Conh'cctor or Snbconlrnctor who falls to pay the specified rates co

rcqoricd shell pay to PSJA iSD 360 for each worlter, laborer, or mechanic employed for each calendar

day or port of a calendar day the worker is paid less then the wage rates specified in the contract and
that are less than PSJA ISD‘H published prevailing rittes. Please soc Exhiln`t A, which indicates the
wage rates thc Contractor is paying its construction workerc, workers, andior laborers. 'I'he
Contrn.ctor’s rates arc at or above PSJA ISD’s prevailing wage rates

 

ART|CLE 10 lNSURANCE AND BONDS
The Conirtteter shall purchase and maintain insurance and provide bonds as set forth in Artiele ll of AIA Documcnt

A20`i-200T.
(Sror__e bonding quirentenlr, if any{ and limits of_ liability for insurance required in Article_ 11 of A!A Dacumen!
A201-2007.) `
Type of insurance or- bond leil of liability or bond amount ($0.00)
l Forthcoming

Thiw_l_ncnt entered into as of the day and year first written above.

‘/;_ \/Wi} -/'-'

 

 

 

 

 

 

f .
OWNER-_(Sigmr£r`r_re] CGNTRACTOR (Signature)
l Dr._ Dj¢micl P. Kini$upennlcndmt oi` S¢l_tools Mr. Micho.cl D, Smi‘ih, Prcsidcnt_
(Prioted name and iiil'e) {Prinied name and ri!ie) '

 

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Case 7:15-cv-OO465 Document 1-13 Filed in TXSD on 11/06/15 Page 16 of 50

C-5149-14-H

§ 3.3 The Comxactor shall achieve Substantial Completion of the entire Work not later than (-}days fi'om the date of
oouunencemeut, or as follows:

PAGE 3

  
  

     

 

  
 

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wang [120{ calmdar' day§ from §§gtice 10 Pro§eed. _Tc\tnl 360 cal dnr days.

§ 4.1"[`11\=, Owner shall pay the Contrucior the Contra.ct Sum in current funds for the Conl:ractor’s performance ofthe
Contract. The Contrnct Sum shall be ?i 111` 'I.lio F' hl §§ n ) a ngg.
($ 08 00 , subject to additions and deductions as provided in the Contract Doc\:me_rms.

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Case 7:15-cv-OO465 Document 1-13 Filed in TXSD on 11/06/15 Page 17 of 50

C-5149-14-H

§ 5.1.3 Provided that an Applicaticn for Paymcnl is rcccivcd by the Architect not later than the Twany-E fl_h_-day of a
month, the Owner shall make payment of thc certified amount to the Ccntractor not later than the day»e£$he

fgllc;g' ing month. If an Applicaticn for Payment is received by the Architect afrcr thc application date fixed abcvc.
puymcnt shall bc made by thc Owner not later than (_}-_thc second week of the n§xt goods days after the Architect
receives thc Applicat'xon for Payment.

PAGE 5

 

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Case 7:15-cv-00465 Document 1-13 Filed in TXSD on 11/06/15 Page 18 of 50

C-5149-14-H

 
 
   

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international ‘|’reettee. unemhdrtled npmdumlen er distribution o| thle AtA Decurnont or any penlen el ll, may resu‘ll ln severe civil end erlrnhull
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Case 7:15-cv-00465 Document 1-13 Filed in TXSD on 11/06/15 Page 19 of 50

C-5149-14-H

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Case 7:15-cv-00465 Document 1-13 Filed in TXSD on 11/06/15 Page 20 of 50

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Case 7:15-cv-00465 Document 1-13 Filed in TXSD on 11/06/15 Page 21 of 50

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Case 7:15-cv-00465 Document 1-13 Filed in TXSD on 11/06/15 Page 22 of 50

EXHIBIT A
PSJA ISD T-STEM EARLY COLLEGE HlGH SQ§|M _ _ ERO Architeots
(Oid |'t'iemorial Middio Schooi} ~ PHASEi 9 14 H F'l'°]€¢f No‘ 09007
RENovATloNs AND Aoot‘rtous PSJA '8° CSP #°9-1°-°°6
Pharr - San Juan - Alamo independent Schooi District
SECT|ON 00 0111
TABLE OF CCNTENTS
DOCUMENTS 0 -- iNTRODUCTORY iNFORMAT|ON, BlDD|NG REQU|REMENTS, AND

CONTRACT REQUlREMENTS

00 0107 - SEALS PAGE

00 0110 - TABLE OF CONTENTS

00 0115 - LlST OF DRAWING SHEETS

PSJA |SD lNV|TAT|ON TO SUBM|T BlD l PROPOSAL AND SPEC|AL COND|T|ONS

A. PSJA |SD GENERAL PROViSiONS
1 Bid Proparation and Submiss|on Procedures
2 Staternetnt of inclusion t’App|icablilty
3 Genera|
4. Contract Time Period

5. Addertdum

6. Specific_ations

7 Bld Eveluetion and Award

8 Quartf_ities_

9. Packaging

10. Pricing

11. Saies Tax

12. De|ivery and Transportation

13. Ciueilty

14. Prcduct inspection, Testin`g, and Defective items

15. Sampies

16. Warrantles

17. Withdrawa| or N|odificati_on of Bid

18. Subsiiiutions

19. Dev|ations from item Speciiication or Generai Terms and Cortditions

20. Contra`ot and Purci'tase Orders

21. lnvoicee. Paoking Lists. and Payment

22. Remedioe for Non-Pcri'ormartce of Contract, and Terrn|nation of Contract

23. Forco N|ajeure'

24. Non~Coiiusion Ceri|fication

25. Assignmertt - Doiogation

26. Cortificatiorts regarding Legai, Ethicai. end Other Mat_t_ers

27. Equei En'tpioyment Opporiunity {EEO) Diecloeuree

28. Venue

29. lndemnitication

30. Ar_bitration

31. Cho|ce of Law

32. Vendor Year 2000 Comp|ianoe

33. Waiver

34. interpretation -' Paroie Evidence

35. Rightto Assurance

36. Exteneion! Non-Appropriation C|ause

37. Proposa| Acceptance

38. insurance Requirements

39. |nstaiiation (whort appiicab|e)

40. inquiries and interpretations

41. Eve|uation Factore end Critoria

PSJA |SD FORMS

00 0111 -TABLE OF CONTENTS Page 1 of 0

 

Case 7:15-cv-00465 Document 1-13 Filed in TXSD on 11/06/15 Page 23 of 50

PSJA lBD T-STEM EARLY COLLEGE HIGH S V§. ERO Architecte
(Olc| Mamoriai Middie Schoo|) - PHASE [ cei 49'14+| Pml€=f N°- 090°7
RENovATtoNs ANo Aoelrtous F’SJA ‘3° °3"" W°"'°~°°°
Pharr- Ban Juan - A|emo independent School District

B. Forms Cheoitiist [Ai| Referertced Forms must be Signed and Submitted with B_id l Proposai
or Bidi Proposei wlil be considered Nort-Responsive)
1 Form A: Not|ficetton to invitation to Eiid
2 Form B: De\riationsi Comp|ience Signature Page
3 Form C: Feiony Convictions Disciosure Stetement
4. Form D: Anti-Cci|ue|on t‘ Bld Aci<now|edgement Ciause
5. Form E: Coniiiot of interest Queetionnaire
6 Form F: Suspension or Debarment Certificate
7 Form G: Hietor|cai|y Underuti|lzed Business (HUB)
8 Form H: Texas Famiiy Code Certificetion
9. Form |: Deaierehips Lieting
10. Form J'. Oul of State Certiiicationa Page
11. Form K: No Bidi No Propoeai Rep|y Form
12. Form L: instruction to Schooi District Contractors
13. Form Ni'. Direct Deposit Form
14. Form N: Vendor Acknowiedgement Form

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no 4100 - tate FORM

00 5200 - AGREEM EN_T FORM - AiA DOCUMENT A101 - STAN DARD FORM OF
AG REEMENT BETWEEN OWNER & CONTRACTOR

00 7200 - GENERAL CONDlTiONS - AlA DOCUMENT A201 - GENERAL COND|T|ONS OF
CONTRACT FOR CONSTRUCT|ON

00 8200 - WAGE RATES
DlVlSiON 1 -- GENERAL REQU|REMENTS

NOTE: REFERENCE PROJECT MANUAL VOLUME l|l FOR TECHNiCAL SPEClFiCATION
lNDEX FOR ASBESTOS ABATEMENT SPEC|F|CAT|ONS PROViDED BY ENViROTEST LTD.
{PSJA ISD PROViDED CONSULTANT AND SPEC\F|CAT|ONS)

01 1000 - SUMMARY

01 2000 - PR|CE AND PAYMENT PROCEDURES

01 2100 - ALLOWANCES

01 2200 - UN|T PR|CES

01 2300 - ALTERNAT|VES

01 3000 - ADM|N|STRAT|VE REQUIREMENTS

01 3216 - CONSTRUCT|ON PROGRESS SCHEDULE

01 4000 - QUALITY REQU|REMENTS

01 5000 ~ TEMPORARY FAC|L|T|ES AND CONTROLS

01 5713 - TEMPORARY EROS|ON AND SED\MENTAT|ON CONTROL
01 6000 - PRODUCT REQU\REMENTS

01 7000 - EXECUT|ON AND CLOSEOUT REQU|REMENTS

01 7419 - CONSTRUCT|ON WASTE MANAGEMENT AND DISPOSAL
01 7800 - CLOSEOUT SUBM|TTALS

00 0111 - TABLE OF _CONTENTS Page 2 of 6

 

 

Case 7:15-cv-OO465 Document 1-13 Filed in TXSD on 11/06/15 Page 24 of 50

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gold Mamoriac M\dd\a schoen - PHASE\ re 9 14 H Prolec\ No. 0900.1
RENovA'noNs AND ADD|T\oNs "SJA 'S° °SP #°9"°'°°5

Pharr - San .|uan ~ Aiarno independent School District
D|V|S|ON 2 -- SiTE CONSTRUCTION

N_QIEL REFERENCE PROJECT MANUAL VOLUME ll FOR TECHN|CAL SPEC|F|CAT|ON
lNDEX FOR ClViL SFEC|F|CAT|ON SECTiONS FROV|DED BY (PCE) PEREZ CONSULT|NG
ENC.-`oli\iEERSl LLC

02 2000 - SiTE PREFARAT|ON
02 4100 - DEMOUTION
DiViSlON 3 -- CONCRETE

NOTE: STRUCTURAL SPECIF|CATiON SECT|ONS PROVIDED BY (FLA)* FRANK LAM 81
ASSOC|ATES

03 0130.15 - coNcRF.TE REPA\R (F\_A)*
03 1000 - coNcRETE FoRMlNG AND AccEssomEs (FLA)*
03 2000 - coNcRETE RE|NFoRclNG (FLA)*
03 3000 - cAs'r-lN-PLAcE coNcRETE (FLA)*
03 3900 - coNcRE'rE cuRlNG (FLA)*
03 5216 - LleHTwE\GHT leu\.AT\NG coNcRETE (F\_A)*
03 5400 - cAST uNDERLAYMENT (FLA)*
nlvls\oN 4 -- MAsoNRY
04 0100 - MA\NTENANCE oF MAsoNRY
04 0511 - MAsoNRY MoRTARlNG ANo enou'rme
04 2000 - uNzT M`AsoNRv
04 2131 - RE\NFoRch uNrr MAsoNRY
04 1200 - cAsT sToNE MAsoNRY
Dlv\sloN 5 -. METALs

NOTE: STRUCTURAL SPEC|F\CATION SECT|ONS PROV|DED BY (FLA)* FRANK LAM &
ASSOC|ATES

05 1200 - s'rRucTuRA\. s'rEEL FRAM\NG (FLA)*
05 2100 - sTF.EL Jo\sT FRAM\NG (FLA)*
05 3100 - sTEEL nEcKlNG (F\.A)*
05 4000 - coLn-FoRMED METAL. FRAMING (FL.A)*
05 5000 - METAL FA`BR\cATloNs (FLA)*
05 5100 - METAL smle
05 5134 - A\.uMlNuM LADoERs
05 5213 - PlPE AND “ruBE RA\L!NG

Dlvls\oN a -- woon ANn FLAsncs
06 0507 - HlGH PREssuR`F. oE`coRAnvE LAM\NATES
06 1000 - RouGH cARPENTRY

00 0111 - TABLE OF CONTENTS Page 3 of 6

 

Case 7:15-cv-00465 Document 1-13 Filed in TXSD on 11/06/15 Page 25 of 50

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RENovATloNs AND Anm'rloNs PSJA 'S° °SF' #°9-1°'°°6

Pharr - Sa'n Juan ~ Aiamo lndependent School District
06 1054 - WOO_D BLOCK|NG AND CURB|NG
06 2000 - FiN|SH CARPENTRY
06 4100 - CUSTOM CAB|NETS
06 4216 - WOOD VENEER RAiSED PANEL WAINSCOT
06 6510 - SOLID SURFACE FABR|CAT\ON
DiV|SlON 7 -- THERMAL AND MO|STURE PROTECT|ON
07 1360 - DRAiNAGE WATERPROOFING
07 1400 - FLUiD-APPL|ED WATERPROOF|NG
07 1900 - WATE_R REPELLENTS
07 2100 -THERMAL iNSULATiON
07 2400 - EXTER|OR lNSULATiON AND F|NiSH SYSTEM
07 4113 - METAL ROOF PANELS
07 464-6 - F|BER CEMENT SlDlNG
07 5300 - COAL-TAR ELASTOMER|C ROOF|NG S¥STEM (Armk.O-)

07 6000 » SHEET METAL & MISC. AC_CESSOR|ES FOR COAL-TAR ELASTOMERIC
ROOF|NG SYSTEM (Armko)

07 6110 - SHEET METAL SOFF|T
07 6500 - THROUGHWALL FLASH\NG SYSTEM (Armko)
07 7200 - ROOF ACCESSORIES
07 8400 - FlRESTOPP|NG
07 9005 - JO|NT SEALERS & SEALANTS
07 9513 - EXPANS|ON JOlNT COVER ASSEMBL|ES
DlViSlON 8 -- DOORS AND WINDOWS
08 1113 - STEEL DOORS AND FRAMES
08 1210 - ALUM|NUM lNTERlOR DOOR FRAMES
08 1423 - ALUM|NUM CLAD WOOD COMMER|AL DOORS
08 1433 - ST|LE AND RAlL WOOD DOORS
08 3100 - ACCESS DOORS AND PANELS
08 3323 - OVERHEAD COiL|NG DOORS
08 4100 - ALUM|NUM ENTRANCES AND STOREFRONTS
08 4410 - GLAZED ALUM|NUM CURTA|N WALL
08 52_13 - ALUM|NUM CLAD WOOD DOUBLE HUNG WiNDOWS
08 7100 - DOOR HARDWARE 81 HARDWARE SCHEDULE (AsSa/Abloy)
08 0100 - GLASS
00 8300 - MlRRORS

00 0111 -TABLE OF CONTENTS Faga 4 016

 

 

Case 7:15-cv-00465 Document 1-13 Filed in TXSD on 11/06/15 Page 26 of 50

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ERO Architects
Projact No. 09007

RENovA'noNs AND ADDmoNs FSJA 'S° CSP #°9'1°~°°6

Pharr - San .iuan - Alamo \ndepandent School District
olv\sloN 9 - F\leHEs
09 2116 - GvPsuM BoARD AssEMBL\Es
09 3000 - T\L\Ne
09 3001 - T\LE EnGE PRoTEc'noN
09 5100 - susPENDED AcousTchL cE\LlNGs
09 5114 - FABR\c-FACEIJ AcousTchL cElLlN_es
09 5410 - METAL TILE cElLING svsTEM
09 5100 - AcousTchLwooD cElLlNG sYs'rEM
00 6423 - HARowooD FLooRlNG - ADHEslvE APPLlEn
09 0500 - RElelENT FLooR\NG (RuBBER)
09 6501 - RES\L\ENT (RuBBER) FLooR TILE, BASE ANn s'rAlR TREADs
09 0900 - cARPETlNG
09 9000 - PA\NT\NG AND coATlNG
DlvlsloN 10 -- sPF.clALT\Es
10 1101 -vlsuAL olsPLAY BoARos
10 1424 - PLAsTlc slGNs
10 2113 - PLAsTlc Tou.ET coMPARTMENTs
10 2123 - cuBchEs
10 2601 - wALL AND coRNER GuARos
10 2813 - TolLET AccEssoRlEs
10 4260 - cAs"r METAL PLAQuEs
10 4400 - F.IRE F.leNGulsHERs, cAB'\Nr-:Ts AND AccEssoR\Es
10 5613 - METAL sToRAGE sHELlee
10 1500 - FLAGPoLEs
nlvlsloN 11 -- EQulPMENT
11 0500 - L\BRARY AR'r\cLE suRvE\LLANcE sYsTEM
11 5213 - PROJEchoN scREENs
D\vls\oN 12 - FuRleHlNGs
12 2113 - HoRlzoN'rAL LoquR BLlNDs
12 4940 - RoLLER sHADEs
Dlvls\oN 13 - sPEc\AL coNsTRuchoN - NoT usEn
nlvls\oN 14 - coNvEY\NG svsTEMs
14 2100 - ELEcTR\c TRAchoN ELEvA'roRs

00 0111 - TABLE OF CONTENTS

Page 5 016

 

Case 7:15-cv-00465 Document 1-13 Filed in TXSD on 11/06/15 Page 27 of 50

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(O|d Momoria| Middle School) - PHASE l cd 9 14 H Pro}ect No. 09007
RENovA'rloNs AND AanloNs PSJA 'S° °SP #°9'1°'°°°

Pharr -San Juan - Alamo independent School District

       

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DlVlSlON 22 -~ PLUMB|NG

NOTE: REFERENCE PROJECT MANUAL VOLUME lll FOR TECHNICAL SPECiFlCATlON
lNDEX FOR MECHAN|CAL, ELECTR!CAL 81 PLUMBING SPECiF|CAT|DN SECT\ONS
PROVlDED BY (MEPSE) MEP SOLUTIONS ENG!NEER|NG

D|V|S|ON 23 -- HEAT|NG` VENTILAT|NG AND A|R COND|T|ON|NG

NOTE: REFERENCE PROJECT MANUAL VOLUME l_il FOR TECHNICAL SPEC|F|CATICN
lNDEX FOR MECHANICAL, ELECTR!CAL 81 FLUMBING SPECIF|CAT|ON SECTIONS
PROVIDED B‘f (MEF'SE) MEP BOLUTIONS ENG|NEER]NG

DlVlS|ON 28 -- ELECTRlCAL

NDTE: REFERENCE PROJECT MANUAL VOLUME ||| FOR TECHN|CAL SPEClFlCATlON
1NDEX FOR MECHAN\CAL, ELECTRICAL & PLUMB!NG SPEC\FICAT|ON BECTlONS
PROVIDED BY (MEPSE] MEP SOL'UT!ONS ENG|NEERING

DiVlS|ON 27 -- COMMUN|CAT|ONS

NOTE: REFERENCE PROJECT MANUAL VOLLIME lll FOR TECHN|CAL SPEC|F|CAT|ON
|NDEX FOR MECHAN|CAL. ELECTR|CAL 31 PLUMB|NG SPECIFICAT|ON SECT|ONS
PROV|DED BY (MEPSE) MEP SOLUTIONS ENGINEER|NG

DiVlSiON 28 -- ELECTRON|C SAFEW AND SECUR|TY

NOTE: REFERENCE PROJECT MANUAL VOLUME lH_ FOR TECHN|CAL SPEC|FICAT|ON
INDEX FOR MECHANICAL, ELECTRICAL & PLUMB|NG SPEC|F|CAT|ON SECTIONS
PROVIDED BY (MEPSE) MEP SDLUT!UNS ENGiNEER|NG

NOTE: REFERENCE PROJECT MANUAL VOL.UME lll FOR TECHN|CAL SPECIF!CATION
|NDEX FOR ASBESTOS ABATEMENT SPEC|FICAT|_ONS PROV|DED BY ENVIROTEST LTD.
(PSJA |SD PROViDED CONSULTANT AND SPEC\F|CAT|ONS)

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TABLE OF CONTENTS (ENV|ROTEST)
APPEND|X A: DEFIN|T|ONS (ENV|ROTF_-ST)
APPEND,|X B: APPL|CABLE STANDARDS AND GU|DEL|NES (ENVIROTEST)
AFPEND|X C: ACM SURVEY (ENV\ROTEST)
END OF TABLE OF CONTENTS

00 0111 - TABLE OF CONTENTS Page 6 of 6

 

Case 7:15-cv-00465 Document 1-13 Filed in TXSD on 11/06/15 Page 28 of 50

C-5149-14-H

TECHNICAL SPECIF|CAT|ON$
|NDEX

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TXR 150000 TPDES Genercl Perm“' ..~.........".".'.'"."`»n",'.`¢»'.'~"'nvi~'u.\'w.¢;'i~s~¢'»'ih~ic»a.w;v'r"-'\»w-'¢¢'4-'.»¢.¢'¢¢»~.v~\'"'¢'~"~.'.. 1*34

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Section 11 Trench Excovotidn and Shoring Sofe'ry Pion,_._...'..,..,»..;'.-..¢15.;...5.».;...;.`..;.3;;.3.;-.;,;.,1.1 ....... 1-4

 
 
 

Se`ct'ion 02000 Specicli Proiect Conditions......§..............,.;..=-..-,_.=.;..¢.,..;.;.,. - ,.14
section 02102 clearing Qnd Grubbmgm
Sect"\on 02221 Trench E)<covcl'rion, Bocl<fiii end Compoc’rion ...... 15
section 022`24 `Pipe Borrng, mining end Jcci<\ng ............... 1-5
S`ection 02240 Lime Stobiiizciiion 15
Section 02435 Reinforced Concret‘e Drolnc\ge Pip'e....... ..... _. ................... - ...... 3 .......... 1-6
Section 02556 Woter Tro'nsmlsslon Lines onci/or Pressure Sewer Lir\es 1~9
Section 02570 Sc'nitc:ry Sewer..,,113
Section 02580 STorm Sewer Appurtenonces ..................................... - 13
Sec‘rion 02602 Fiberg|ciss Monhoies cmd We'rweiis. 1-8
Section 02660 Concrete Curb and Gu‘rter and Voliey Gutier 1-4
se<:non 02`780 nat Whee\ 120an 1_2
Sec'rion 02782 Pneumotic Tire Roiiing..lQ
Se<:ti,on 02784 Tclm`p`ing Roiiing.,¢ 1~2
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Section 02910 ConsTrucTion Trc\ffi`c ConTro|1-é
Sec'rion 02920 Trench Protec'Tlon System1-8
Section 03300 Ccst -in- Pic:ce Concrete1-14
SeCT\On 03330 ReinfOrCing STG€\.‘. ..... _.,,1,,..,,.,._.,...,.,.,..,',......';.,.-_.;,.;,'3_.~;..,.3..~.;~;<1..11.,~4.._.'.~.~.'~.=';.‘.~.".1._.-'.~."..':.'.».'.....".~.-.:. 1-'7

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Pagc 1 of 2

 

 

Case 7:15-cv-00465 Document 1-13 Filed in TXSD on 11/06/15 Page 29 of 50

?§:|Ah;:rl:;r-ISHIT“EA\':$E|;I;LY COLLEGE HlGH SQE|£H|”S_1 4_H ERO Architects
chnnl) - PHASE l Pro]ent No. 00007
neuovATloNs ANn Annmons PSJA 'S° °SP #°°'1°'°°°
Pharr- San .Juan -Aia`mn independent School District

AD301 DEMOL|T|ON EXTER|OR ELEVATIONS & PHOTOS- NORTH

ADSOZ DEMOL|T|ON EXTE|"R\OR ELEVATlONS & PHOTOS- EAST

AD303 DEMOLIT|ON EXTER|OR ELEVAT|ON.°; & PHOTOS- SOUTH

AD304 DEMOL|T|ON EXTER|OR ELEVATIONS & PHOTOS- WEST

AD305 DEMOL|T|ON EXTER|OR ELEVATION & PHOTOS- VAR|OUS

AD306 DEMOL|T|ON BUiLD|NG SECT|ONS & PHOTOS

AD307 DEMOL|TION BUiLD|NG SECT|ONS & PHOTOS

ADSOS DEMOL|T|ON BUiLD|NG SECT|ONS & PHOTOS

AD309 DEMOL|T|ON BUiLD|NG SECT|ONS & PHOTOS

AD$10 DEMOL|T|ON BUiLD|NG SECT|ONS & PHOTOS

AD311 DEMOL|T|ON BUiLD|NG SECTIONS & PHOTOS

AD312 DEMOL|T|ON BUiLD|NG SECT|ONS 81 PHOTOS

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DEMOL|T|ON MECHAN|CAL - BASEMENT FLOOR PLAN
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DEMOL|T|ON MECHAN|CAL - SECOND FLOOR PLAN
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DEMOL|T|ON ELECTR|CAL L|GHT|NG - SECOND FLOOR PLAN
DEMOL|T|ON ELEC_TR|CAL POWER - BASEMENT FLCOR PLAN
DEMOL|T|ON ELECTR|CAL POWER - F|RST FLOOR PLAN
DEMOL!T|ON ELECTRICAL POWER - F|RST FLOOR PLAN
DEMOL|T|ON ELECTR|CAL POWER - SECOND FLOOR PLAN
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DEMOL|T|ON PLUMBING - F|RST FLOOR PLAN

DEMOL|T|ON PLUMB|NG - SECOND FLOOR PLAN

PEREZ CONSULT|NG ENGINEERS: VOLUME ll

00 0115 - LlST OF DRAW|NG SHEETS Page 2 017

 

Case 7:15-cv-00465 Document 1-13 Filed in TXSD on 11/06/15 Page 30 ot 50

C-5149-14-H

item 132 Emboni<ment ,1-4
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item 247 Fiexib|e Bose.15
item 251 Rew`ori<ing Bcse Courses.
item 300 Asphoits, Oiis, cind Emu|sions....3-.¢.~...-...\....-._.-..4,.-.,--.,.-;.~
item 301 Asphcit Anti~stripping Agents-.»,;”-,.-5.1.;...3.,;1_.5~1;.-,.;....,..'_,

    

litem 310 Prlme COG? &»d¢wn."r,¢n414su~u~~v‘c'v,v.jy'~j¢:uv._fvv.yvgvv_v_.gu;!*.$_'_t"z\=".*\»¢_'","n wm r r v run »~~ ns n 40 »n n nw ~ t..,"....
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item 351 F|exibie Povement Structure i'<`epoir, ......... 1'-3

  

item 360 Concrete Povement ......................................... ...... .1-9
item 420 Concrete Structures ......................................... , ............. 1 -20
item 421 Hydrouiic Cement Co'ncrete ..... .,1-12
item 423 Re.tc\ining Wclii1-6
item 427 Surtcxce Finishes for Concrete .............. 15
lTSm 432 mper.W...,...........,...1~7
item 450 Roiiing 1-3
item 465 Monhoies end iniets1*3
item 466 Heociwciiis and Wingwoi|si3
item 479 Ad]ustirtg Mcnho|es and iniets .1-1
item 531 Sidewoii<s ..1-1
item 666 Refiectortzed Povement Mori<ings ................. 1.14
item 672 Rclised Pevement Mori<ers._._,,._.__. ..... ....... ...... 1-2
TH ESE SPEC|FiCATiONS ARE lNTENDED TO COVER Ai.i. ClVILWORK RELATED WITH THE PSJA iSD
T-STEM EARL\' COLLEGE H|GH SCHOOL (OLD MEMGR|AL MiDDLE SCHOOL] F_HASE l
RENOVAT|ONS AND ADDIT|ONS PROJECT. THE CONTRACTOR SHALL REFER TO ELECTR|CAL,

MECHAN|CAL PLUMB|NG, AND ARCH|TECTURAL SPEC|F|CATIONS FOR WORK NOT COVERED
WlTHlN.

Page 2 of 2

 

Case 7:15-cv-00465 Document 1-13 Filed in TXSD on 11/06/15 Page 31 ot 50

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Fha`rr‘-` San Juan - Aiamo independent School District
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An103 ENLAReEn sl'rE DEMoL\TloN PLAN
AD104 slTE nEMoL\TloN PHo'ros
An105 BAND HALL ANn nREsslNe RooM nEMoLiTloN P\-toTos
A0201 coMPoslTE nEMoLlTloN euiLnlNe PLANs
An202 nEMoLn'\oN BAseMENT FLooR PLANs
Anzoa coMPoslTE FleT FLooR nEMoLmoN PLAN
Anzo4 nEMoLl'rloN FleT FLooR PLAN - AREA 'A' (coRE)
Anzos nEMoL\'noN FIRST FLooR PLAN -AREA'B' s. 'c' (EAsT 5 west wlNes)
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00 0115 - LIST OF DRAWING SHEETS Pego 1 of7

 

 

Case 7:15-cv-00465 Document 1-13 Filed in TXSD on 11/06/15 Page 32 ot 50

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ce103 niMENsioN coNtRoi. PLAN
ce104 GRAniNe 5 nnAiNAeE PLAN
ce105 eRADiNe 5 nRAiNAeE PLAN
cE105 utii.itY PLAN

cE101 PLAN 5 PRoFii.E

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cE109 PLAN 5 PRoFii.E

cE110 FiR stREEt/u.s. eusiNEss 53 iNTERsect_ioN LAYout
cE111 civii_ nEtAiLs

cE112 civii_ netAiLs

ce113 ci\iii. nEtAiLs
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cE11_s civii_ nEtAii.s

ce116 civii_ nEtAii_s

cE111 civii_ nETAiLs

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ce119 txnot stANnARn netAii_s
cE110 txn`ot stANnARn nEtAii.s
cE121 txnot s'rANnARn nEtAii.s
cE122 txnot stANnARn nEtAiLs
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FRANK LAM 5 AssociAtes: voi.uivie ii
s101 eAsEiviENt PLAN

3102 F'ouNnAtioN PLAN

5103 secoNn FLooR FRAMING PLAN
5104 MEzzANiNE FRAMiNe PLAN
5105 RooF FRAiviiNe PLAN

5100 LieRARY PLANs

s109 FRAMiNG nEtA\i_s
ARCHiTECTURAL

00 0115 - LiST OF DRAW|NG SHEETS

ERO Architeets
Proiect No. 09007
PSJA iSD CSF #09-10-006

Page 3 oi‘7

 

Case 7:15-cv-00465 Document 1-13 Filed in TXSD on 11/06/15 Page 33 ot 50

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PLAN

F|RST FLOOR - AREA 'D' -(LlBRARY) REFLECTED CE|L!NG PLAN
COMPOS|TE SECOND FLOOR PLAN - REFLECTED CE|L|NG PLAN
SECOND FLOOR PLAN -AREA 'A' (CORE) - REF|..ECTED CE\LING PLAN

SECOND FLOOR - AREA 'B' 81 'C' (EAST & WEST WiNGS) - REFLEGTED
PLAN

composite Rooi= pLAN

Rooi= pi.AN -AREA 'A'

RooF PLAN -AREA'B' AND 'c'

RooF pi.AN -AREA'D'

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00 0115 - i,.iST OF DRAWING SHEETS Page 4 of7

 

Case 7:15-cv-00465 Document 1-13 Filed in TXSD on 11/06/15 Page 34 ot 50

PSJA iSD T-ST_EM EARLY COLLEGE HlGH i-i§p_ _ _ `
(Oid M_emoriai Ni|ddie School} ~PHASE| 86 &9 14 H
RENOVAT|ONS AND ADD|T|ONS

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00 0115 - LlST OF DRAW|NG SHEETS

ERO Architects
Pro§ect No. 09007
PSJA iSD CSP #09-10-008

Pago 5 of 7

 

Case 7:15-cv-00465 Document 1-13 Filed in TXSD on 11/06/15 Page 35 ot 50

PSJA lSD T~STEM EARL¥ COLLEGE HiGH S%'l%q|zg 1 4 H ERO Architects

(Oid Memoriai Middie Schooi) - PHASE l

Prn|¢ct No. 09001

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Fhsrr - Sari Juan -Aiame independent School District

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EP113
SECOND

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EP206

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ELECTR|CAL - MECHAN|_CAL AND PLUMBING EQUiPMENT LOCAT|ON -
BASEMENT FLODR PLAN

ELECTR|CAL - MECHAN|CAL AND PLUMB|NG EQU|PMENT LOCAT|ON - FIRST
FLOOR PLAN

ELECTR|CAL '- MECHANICAL AND PLUMB|NG EQU|PMENT LOCAT|ON - F|RST
FLOOR PLAN

ELECTR|CAL - MECHAN|CAL AND PLUMB|NG EQU|PMENT LOCAT|ON -
FLOOR PLAN

ELECTR|CAL LEGEND

ELECTR|CAL R|SER DiAGRAM AND SCHEDULES

ELECTR|CAL » MECHAN|CAL EQU|PMENT CONNECT|ON SCHEDULE
ELECTRiCAL PANEL SCHEDULES

00 0115 - LiST OF DRAW|NG SHEETS Page 0 01‘7

 

Case 7:15-cv-00465 Document 1-13 Filed in TXSD on 11/06/15 Page 36 ot 50

C-5149-14-H

TEXAS STATUTORY PERFORMANCE BOND (PUBLIC WORKS)
BOND NO. 105251521

KNOW ALL MEN BY THESE PRESENTS:

THAT, 'l`exas Descon, Ll’, (hereinaftci' called the Principai), as Principal, and 'i.‘ravelcrs
Casuaity and Surety Company of America, a COI`pOl'aiiOrl Organized and existing under the laws Ofthe
State of Connccti_cui;, licensed to do business in the Statc of Texas and admitted to Write bonds, as
surety, (herelnafter called the Surcty), arc held and firmly bound unto Pharr San Juan Aiamo
lodependcni school Districi, (hereinat`ter called the Obligee), in the amount of EIGHT M'iLLioN
ElGHTY-sEvEN THOUSAND AND No/iooTHs Dollars ($s,ost,ooii.oo) for the payment whereof, the
said Pi'incipai and Surety bind themselves and their hcirs, administrators cxccutors, successors,
and nssigns, jointly and severally, firmly by these presents

WHEREA_S, the Principal has entered into a certain contract with the Obligec, dated the
mcintowa nint,for Lesnls._i_,_e.i_a_m‘ ' -"~H ‘~sr_i 1151 liminanan
lese 1 chovntiou§ and Adgttien§, Which contract is hereby referred to and made a part hereof as
fully and to the same extent as if copied at length iterein.

NOW, TH-EREFORE, THE CONDITION OF THIS OBLIGATION IS SUCH, That
if the said Principal shall faithfully perform the work in accordance With the plans, specifications
and contract documents then this obligation shall bc null and void; otherwise to remain in full
force and effect;

PROVIDED, HOWEVER, That this bond is executed pursuant to the provisions of
Chapter 2253 of the Texas Government Code and all liabilities oh this bond shall be determined
in accordance with the provisions conditions and limitations of said Chapter to the same extent
as if it were copied at length hercin.

IN WITNESS WHEREOF, the said Principal and Surety have signed and sealed this
instrument this ll_th_ day of Mny, gm

PRINCIPAL: Tvi=_as Descon, LP

 

 

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1 8 Get.-t '_e"._]_ -_`l’a_ t- or
'// ¢"vl / r/'

 

Michael D. Smith, Preei`%t__‘it

SURETY; Tr_avelers Casua|ty and Surety Coinpany of America

 

BY'~'-' '@0_»\~1 M.`it)i/\Mii@ia

Ga ry W. Wheatley, -f\tioi'-n_i:§r-I.n-Fact

~.-H,\»¢

 

Case 7:15-cv-OO465 Document 1-13 Filed in TXSD on 11/06/15 Page 37 of 50

C-5149-14-H

TEXAS STATUTORY PAYMENT BOND (PUBLIC WORKS)
BOND No. 105257527

KNOW ALL MEN BY TI~[ESE PRESENTS:

THAT, Texas Descon, LP, (hereinatter called the Principa`l), as Principal, and Travelers
Casualty and Surety Company of America, a corporation organized and existing under the laws of the
State of Connecticut, licensed to do business in the State of Texas and admitted to write bonds, as
surety, (hereinafter called the Surety), are held and firmly bound unto Phar`r San Juan Alamo
Independent School District, (hereinafter called the Obligee), in the amount of EIGHT M.ILLION
EIGHTY-sEvEN THoUsANl) AND No/looTHs Dollars ($s, 087,000. 00) for the payment whereof, the
said Principal and Surety bind themselves and their heirs, administrators, executors, successors
and assigns, jointly and severally, tirme by these presents

WHEREAS, the Principal has entered into a certain contract with the Obligee, dated the
4__t__h day ofM_a_v___ 2010, for ’-S A` ISI> T- tel 1 1111 cr l Ol M mori lh-‘litl l elicth
Phase 1 Renovgtign§ and Anditinns, which contract' 1s hereby referred to and made a part hereof as
fully and to the same extent as if copied at length herein.

 

NOW, THEREFORE, THE CONDITION OF TH-IS OBLIGATIO_N IS SUCH, That
if the said Principal shall pay all claimants supplying labor and material to him o`r a subcontractor
in the prosecution of the work provided for in said contract, then this obligation shall be null and
void; otherwise to remain in full force and effect;

PROVLDED, HOWEVER, that this bond i's executed pursuant to the provisions of
Chapter 2253 of the Texas Govemrnent Code and all liabilities on this bond shall be determined
in accordance with the provisions, conditions and limitations of said Chapter to the same extent
as if it Were copied at length herein.

IN WITNESS WHERE_OF, the said Principal and Sure`ty have signed and Sealed this
instrument this M day ofMg, M.

PRINCIPAL: Texas Descon, LP

 

BY:. _

 

M:tchael D. Smith, Pres_i.;ient

SURETY; Travelers Qa‘sualty and __Su_rety Com pany of Amerlca

 

BY:_ bigde

Gj W. Wheatley,- Attotiney-In-F act

 

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Case 7:15-cv-OO465 Document 1-13 Filed in TXSD on 11/06/15 Page 38 of 50

C-5149-14-H

QAIA Document B141‘“ - 1997 Part1

Standard Form of Agreement Between Owner and Architect with Standard Form of

Architeci's Services ' '

TABLE oF ARncLes

1.1 mrnAL mr=oemnon

1.2 REsPousreieries oF THE PARnEs

1.3 rsnnsmm conditions

1.4 ' scope or sEvaces mo owen specm. reams AND commons
1.5 1 couPENsAnon

AGREEHEHT made as of the Fifteenih day of December in the year 2008.
(In wards, indicate day, month and year)

BEerEN the Architecr's client identified as me owners
(Name, address and other information)

Pharr-Sen Juan-Alemu Indepeodent School District

601 E. Keuy
th, rem 78517

and me Architecc:
Wame, address and other bdbnnarian)

ERO Inteimsitiooo}. LLP
300 s. s" sweet
McAilen, Texes ?8501

Fnr the following Project:
(Iucluds dsmlf¢d' description qurvjec¢)

Early College High School

714 E l'B¢hway 83
Pherr,-'I'exne

The Owner end Architect agree as followe:

ADD\T\ONS AND DELERONB:
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Case 7:15-cv-OO465 Document 1-13 Filed in TXSD on 11/_06/15 Page 39 of 50

C-5149-14-H

ARTICLE 1.1 IHITIAL INFORHRTION

§ 1.1.1 This Agreement is based on the following information end assumption

fNGl¢ file dirposftbn for thefoiiowr`ng items by inserting the requested infomtarion or a stormtsur`:h as "twt
npp!fcnb!e, " "tm.btown or time of execution " or "to bn determined later by mm agreme ")

§ 1.1.2 PROJECT PAMME[ERS
§ 1.1.2.1 The objective or usa is: . ‘
(Idantitjr or describe #'apprapdate, proposed use or goals.)

l Ellistiog Memorial Middle School to bercnovntod and adapted for re-use as a 500-600 student high schooi.

§ 1.1.2.2 The physical parameters aro:
(Idenn_'fj' or describe Vappropriate. size, location, dimensions, or other pertinent iqformation, such as 3€01'?¢`1"*¢¢“1
reports about the tire.}

714 E Highway 83
Phtn:r, Toxas

§ 1.‘|.2.3 The Ownor’e Ptogram is:
3de documentation or stare tire manner in which the program will be developed.)

l To be dewrmw¢d'by mutual agreement

§ 1.1.2.4 The legal parameters are:
(M¢hr;rt‘;§r pertinent legal irdbnhatton, nwizzdirtg, §fappropriare, land surveys and legal descr'c§orlons and restrictions
off site.)

l To be determined later by mutual agreement

§ 1.1.2.5 The financial parameters amc as follows.
»1 Amolmt of the DWnnl"e overall budget for the Projent. including the Architech oooq)cnsntlnn, is:
unknownettimeofoantionnfthish.greement _
.2 Amount of the Owner’s budget for the Cosi: of thowozk. molding the mohitr:ct's compensation is:
unknown at timeofoxeoutioo ofthis A.groemenc

§ 1.1.2.6 The time parameters are:
(Ident#§y, tj"qppropria¢e, mr'kswm dates duration orfast truck scherMb¢g.)

l Tobedntormtncdbymutnalegrnemnnt.

§ 1.1.2.1 The proposoci`procm'eznnot ctr delivery method for the hojoct'le:
(Id¢nf(;rjr method such ns oonn)erirfvc bid negotiated comment or oonstrudfon mgenmt.)

| compeuclvenma

§1.1.2.8_ other pmmtmarn: '
17th special chammrirtics or needs ofthe iject such as energy, enviroan or historic preservation
requlummr.v.)

l N/A

§1.1.3 PROJECT 'I'EA|I

§ 1.1.3.1 The Owner’s Dosignated Repmeeotatlve is:
(Lisrndm¢, address and other W'onnation.)

l Dr. mental P. long
thr-Snn Iunn-Alamo Indopenctent School District

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Case 7:15-cv-OO465 Document 1-13 Filed in TXSD on 11/06/15 Page 40 of 50

C-5149-14-H

601 E. Kelly

Pharr. Toan 78577

Telephone Number: (956) 354-2000
Fax Number: (956) 702-5648
drking @psja.klZ.tx.us

' §1.1.3.2 The persons or entities, in addition to the Owner’s Designatod Ropresenlative, who are required to review
the Archlloct's submittnls to the Owner ate:
(List nome, address and other imi)nnat'ion.)

To be determined

§ 1.1.3.3 The Ownu’s other consultants and contractors are:
(List discipline and, l`fblown, idarrijy them by name and addre:s.)

- NlA

§ 1.1.3.4 'I‘he Architect’s Designatcd Ropreanntatlvo is:
(Uot name address and other imbrmott’on.)

EllR. Ochoa. P.E., AIA

ERO international LLP

300 s. s°' amc

M¢Ane,n. rem v1350 1~

Tolephone Number: (956) 661-0400
nor Ncmbm~. (956) 661-0401
cochoa@ercinrornationsl.com

§ 1.1.3.5 The consultants retained at the Archiceot’s expense aro:
(Ltst discipline and, b’known, identify them by name and address.)

To be determined
§‘1.1.4 Othcr important initial information is:
NlA

§1.1.5 When the services under this Agreornent include contract administration scrvices, the General Conditions of
the Conlnct for Construction shall be the edition of AIA Dooumont AZOI current as of the date of this Amoment,
or as follows: '

§ 1.1.6 The information contained in this Article 1.1 may be reasonably relied upon by the Owner and Architect in
determining the Architect's compensation Both portion bowman recognize that lmich information may change cnd,
in thatcvent, thc Owner and tim Architectva negotiate appropriate adjustments in cchcdulo, compensation and
Chnngo in Scrviool in accordance with Soclion 1.3.3.

ARl'iCLE 1.2 RESPONS|B|LII'IES OF THE PARTIES

§ 1.2.1 Tho Owner and the Architect shall cooperate with one another co minn their respective obligations under this
Amoement. Both parties shall endeavor to maintain good working relationships among all members of the Projoct
lsam.

§ 1.2.2 OWNER
§ 1.2.2.1 Unlear otherwise provided under this Agroemont, lite Owner shall provide full information in a timely
manner regarding requirements for and limitations on thc Ftoject. The Owner shall furnish to thc Archicect, within

 

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Case 7:15-cv-OO465 Document 1-13 Filed in TXSD on 11/06/15 Page 41 of 50

C-5149-14-H .

15 days after receipt era written request information necessary and relevant for the Architect to evaluate W°
notice of or enforce lien rightsl

§ 1.2.22 'Ibe Owner shell periodically update the budget for the Project, including that portion allocated for the Cost
of the Worir. The Owner shall not significantly increase or decrease the overall budget the portion of the budget
allocated for the Coslof the Worlr, or contingencies included in the overall budget or a pmt'ron of the budget
without the agreement of the Architect to a corresponding change in the Project scope andquality.

§ 1113 The Owner's Dcsiguated Reprcscntative identiiled in Sectlon l.1.3 shall be authorized to act on the
Owner’s behalf with respect to the Projcct. The Owner or the Owner's Designated chreserrtative shall render
decisions in a timely manner pertaining to documents submitted by the Architect in order to avoid unreasonable
delay in the orderly and sequential progress of the Architect’s services

§ 1.2.2.4 The Owner shall furnish the services of consultants other than those designated in Seclicn 1.1.3 or authorize
the Architect to furnish them as a_Change in Services when such services are requested by the Architect and are
reasonably required by the scope of the Project.

§ 1.2.2.5 Uuless otherwise provided in this Agreement, the Owner shall hrrnlsh tests, inspections andreports required
by law or the Conlract Doc'umeuts, such as siructural, mechanical, and chemical tests, tests for sir and water
pollution,. and tests for hazardous materials

§ 1.2.2.8 The Owner shall furnish all legal. insurance and accounting services, including auditing 'services, that may
be reasonably necessary at any time for the Project to meet the Owner's needs and interests 1

§ 1.2.2.7 The Ownu' shall provide prompt written notice to the Architect l.f the Owner-becomes aware of any faultor
defect in the Pro_iect. including any errorr, omissions or inconsistencies in the Amhitect's Insttuments of Set'vioe.

- § 1.2.3 ARCH|TECT
§ 1.2.3.1 The servicesperfooned by the Architect Architcct’s employees and Architect’s consultants shall be as
enumerated in Article 1.4.

§ 1131 The Architect’s services shall be performed as expeditiously as la consistent with professional skill and care
and the orderly progress cf the Project.-'i`he Architect shall submit for the Owner’s approval n schedule for the
performance of the Architect’s services which initially shall be consistent With the time periods established in
Se`cl'_lon 1.1.2.6 and which shall he adjosted, if necessary, es the Pro]ect proceeds This schedule shall include
allowances for periods of time required for the Owncr’s review. for the perfonnance ofthe Owner‘s consultants, and
for approval et submissions by authorities having interaction ever the Prejeet. Time nmitseembrnhed by this
schedule approved by the Owner shall not, except for reasonable causes be exceeded by the Architect or Owner.

§ 1.2.3.3 The Archiiect's Desiguated Representative identified in Section 1.1.3 shall be authorized to act on the
Architect's behalf with respect to tire Project. '

§ 1.2.3.4 The Architect shall maintain the confidentiality of information specifically designated as confidential by the
owner, unless withholding such information would violate tire law, create the risk of signchant harm to the public
or prevent the Architect from establishing a claim or defense in an adjudicatory proceeding The Architect shall

. require of the Architech consultants similar agreements to maintain the confidentiality of information speci§cally

designated as oonlidential by the Owner.

§ 1.2.3.5 Bxeept with the 0wner's knowledge and consent, thc Architect shall not engage in any activity, or accept
any employment interestor contribution that would reasonably appear to compromise the Architect‘s professional
judgment withrespeet to this Project.

§ 1.2.3.8 The Architect shall review laws, codes. and regulations spplicahlem the Architect's ser'vioes. The Architect
shall respond in tba design cftho Project to requirements lmposed by governmental authorities having jurisdiction
over the Project. -

 

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Case 7:15-cv-OO465 Document 1-13 Filed in TXSD on 11/06/15 Page 42 of 50

C-5149-14-H

§ 1.2.3.1 The Architect shall be entitled to rely on the accuracy andcompleteness of services and information
furnished by the Owner. The Architect shall provide prompt written nance to the Owner if the Architect becomes
aware of any conrs, omissions or inconsistencies in such services or information

ART|CLE 13 TERMS AND CONDITIONS

§ 1,3.1 COST OF 'i'HE WORK

§ 1.3.1.1 The Cost of the Work shall be the total cost or, to the extent the Project ls not completed the estimated cost
to the Owner of all elements of the Project designed or spacided by the Architect

§ 1.3.1.2 The Cost of the Work shall include the cost at current market rates of labor and materials furnished_by the
Owner and equipment designed specified selected or specially provided for by the Architect including the costs of
management or supervision of-construction or installation providedby a separate construction manager or '
contractor, plus n reasonable allowance for their overhead and profit In addition. a reasonable allowance for
contingencies shall be included for market conditions attire time of bidding and for changes in the Work.

§ 1.3.1.3 The Cost of the Work does not include the compensation of th_c Architect and the Architect’s consultants
the costs of the land, d'ghts‘-ot-way and financing or other costs that are the responsibility of the Owner.

§ 1.32 lNSTRUMENTS OF SERVICE `

§ 1.3.2.1 Drawiu‘gs, specifications and other documents, including those in electronic fonn, prepared by the Architect
and the Architect’s consultants are instruments of Scrvice for use solelj,r with respect to this Project. The Architect
and the Architect’s consultants shall he deemed the authors and owners of their respective Instruments of Sarvice
and shall retain all common law, statutory and other reserved rights, including,copyrights.

§ 1.3.2.2 Upon execution of this Agreenient, the Architect grants to the Owner a nonexclusive licenseto reproduce '
the Architech lnsn'l.uueats of Service solely for purposes of oonstruct:lng. using and maintaining the Project,
provided that the Owner shall comply ninth all obligations, including prompt payment of all sums when dne, under
this Agreemelrt. The Architect shall obtain similar nonexclusive licenses from the Architect’s consultants consistent
with this Agreement. Any termination of this Agreement prior to completion of the Project shall terminate this
iicense. Upou such ter-o:instion, the Owner shall retinin from making inrthcr_repmductlons of Instruments of Serviee
and shall reimn to the Archiaect within seven days of termination all-originals and reproductions in the Owner's
possession orcontrol. if and upon the date the Architect is adjudged hidefirult of this Apreemeut, tile foregoing
license shall.be deem terminated and replaced by a scoonti, nonexclusive licensepermitting the Owner to
authorize other similarly credentialed design professionals to reproduce and. where permitted by law, to make
¢hBDBeS, corrections or additions to the lnatrnments of Service solely for purposes of completion using and
maintainingthe Project. -

§ 1.3.2.3 Except for the licenses granted in Sec_tion 1.3.2.2, no otherllcense or rlghtshal.i he deemed granted or
implied under this Agmemeat. The Owner shall not assign, delegate, sublicense. pledge or otherwise transfer any
license planted herein to another party without the prior written moment of the Architect l-iowevar, the Owner
shall be permitted to authorize the Contractor, Subcontractors, Sub-subcontmators and material ar equipment
suppliers to reproduce applicable portions of the Instrumcnta of Servh:e appropriate to and for use in their execution
of the Worlc by license granted in Section 1.3.2.2. Submission or distribution oflnstruments of Service to meet
ofEcial regulatory requirements or for similar purposes in connection with the Pcoject is act to he construed as
publication in derogation of the reservedrights of the Architect and the Architect's oonsnltanta. The Owner shall not
use the Iustruments of Service for future additions or alterations tothis Project er for other projects unless the
Owner obtains theprlur written agreen:\tent of the Architect and the Arehltoct' s consultantsl An}' ulmut.horiaad use pt
the Instruments of Service shall he attire Owner’s sole risk and without liability to the Architect and the Architect s
consultants

§1.3.2.4 Prior to the Architectproviding to the Owneranylnstrumentsofsecvicoinelectrenic former theOwnm‘
providing to the Architect any electronic data for incorporation into the Instruments of Service, the Owner and the
Architect shall by separate written agreement set forth the specific conditions governing the format of such l _
Inatruments of Service or electronic data, including any special limitations or licensee not enterprise provided iu this

A.groement.

 

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Case 7:15-cv-OO465 Document 1-13 Filed in TXSD on 11/06/15 Page 43 of 50

l C-51 49-1 4-H
§ 1.3.3 CHANGE lN SERVlCES -
§ 1.3.3.1 Chsnge in Set'vioes of the Architect including services required of the Architect's consultants, may he
accomplished afterereeunon of this Agreement. without invalidating the Agreement, if mutually agreed i_n writing
if required by circumstances beyond the Architect's control. or if lhe Amhitect's services are affected as described in
Section 1.3,3.2. In the absence ofmutusl agreement in nritlng, the Architect shall notify the Owner prior to
providing such services. If the owner deems that all or a part of such Chenge in Services ls not required, the Owner
shall give pmmptnuitten notice so the Architect, and the Architect shall have no obligation to provide those
services Exeept for a change due eo the fault of the Architect Change in Services of the Architect shall entitle the
Architect to an adjustment in compensation pursuant to Sect.ion 1.5.2, and to any Reimbursable Expenses described
in Seellon 1.3.9.2 and Sectlon 1.5.5. '

§ 1-_3-3.2 Ifsny of the following circumstances affect the luchiu:ct’s services for the Project, the Architect shall be
eantied to an appropriate adjustment in the Architect’s schedule and compensation:

-1 C?&DBE in the instructions or approvals given by the Owner that necessitate revisions in lustrurnents
0 Sel'\'lce; '

.2 enactment or revision of oodes, laws or regulations or crucial interpretations which necessitate
changes to previously prepared Instrurnents of Servlce;

.3 decisions of the Ovtmer not renderedin a timely munner; ,

.4 sigoliicant change in the Project including, but nor limited to, size, quality, complexity, the Owner’s
schedule or hudget, or procurement method:

.5 failure of performance on the part of the Owner or the Owner's consultants or contractors

.6 preparation for and attendance at a public hearing. s dispute resolution proceeding or‘alegal
proceeding except where the Architect ls party thereto:

.7 change in the information contained in Article 1.1.

| (Paragmprn needs
§ 13.6 CLAI|l|B FOR CONBEQI.|ENT|AL DAMAOES
The Architect and the Owner waive consequential damages for claims. disputes or other matters in question milling
nut or er renting to can moment run mann waiver n applicable stch umtmuan, w all consequential
damages due tie either party's termination in accordance with Sectlon 1.3,_8.

§ 117 MIBCEU.ANEOUB FROV|BlONB `
§ 1311 Thie A,gmenrent mall be governed by the law of the principal place of business of the Architect, unless
otherwise provided in Seetion 1.4.2. .

§1n.1.zrormsinutnsgmmsmmu hawthorne meaningattmmmeedtnon ofmnnocumencmt,
General Conrlltious of the Contract int Constructlnn, current as of the date of this Agreement.

 

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Case 7:15-cv-OO465 Document 1-13 Filed in TXSD on 11/06/15 Page 44 of 50

C-5149-14-H

§ 1.3.?.3 Causcs of action between the pardon to this Agreement pertaining to acts or failures to act shall be deemed
to have accrued and the applicable slattules of limitations shall commence to run not later than either the date of
Substantisl Complaion for acts`or failures to act occurring prior to Substantisl Complelion or the date of issuance of
the final Certihcate for Payment for acts or failures to act occurring after Substsntial Complet.iou. In no event shall
such statutes of limitations commence to run any later than the date when the Architcct’s services are substantially

completed

§ 1:3.?.4 To the extent damages are covered by roch insurance during construction the Owner and the Architect
waive all rights against each other and against is connactors, consultants. agents and employees of the other for
damages, except such rights ss they may have to the proceeds of such insurance as set forth in the edition ot` AlA
Documeot A201, General Conditioos of the Controct for Constructioo, current as ofthe date of this Agreement. The
Owner or the Architect ss appropriate shall require of the contractors consultants agents and employees of any of
them similar waivers in favor of the other parties enumerated herein

§ 1.3.?,5Nothing contained in this Agreement shall mate a contractual relationship with or a cause of action in
favor of a third party against either the Owner or Architect

§ 1.3.?.6 Unless otherwise provided in this Agreemeut, the Architect and Arclutect’s consultants shall have no
responsibility for the dlscovcry, presencel handling, removal or disposal of or exposure of persons to hazardous
materials or toxic substances in any form at the Project slte.

§ 1.3.7.? The Architect shall have the right to include photographic or artistic representations of the design of the
Project among me'Amhimct‘s promotional and professional materials The Architect shall be given reasonable
access to the completed Project to mails such representations However, the Architect‘s materials shall notlnclude
lite Ownet"s conlid.'entisl orproprietnry informilonlflbe Owner has previously advised the Architect in writing of
the specific information considered by the Owner to be confidential or proprietsry. The Owner shall provide
professional credit forthe Architect in the Owne¢'s promotional materials for the Project.

§ 1318 Ii' the Owner roquesm the Architect ho execute certificates the proposed language of such certificates shall
he submitted to the Architect for review at least 14 days prior to the requested dates oi‘ execution The Architect
shall not be required to execute certi.dcates that would require lmowledge. services or responsibilities beyond thc
scope of this Agreemsnt.

§ 1.3.7.\| The Owner and Architect respectivmy, bind dmnuelves, their parmers, successors assigns and legal
representatives to the other party to this Agreement end to the partners, successors, assigns and legal tq:resentatlves
of such other party with respect to all covenants of this Agreement. Neither the Owner nor the Architect shall assign
this Agreemcut without the written consent of the other, except that the Owner may assign this Agreoment to an
institutional lender providing financing for the Pn>ject. In such event, the lender shall msume the Owner’s rights and
obligations under this Agroement. The Architect shall execute all ccments reasonably required ao facilitate such

assignment

§ 13.8 TERH|NATION OR BUSPENSlON

§ 1.3.3.'! Iftho Owner fails to make payments to the Architect in accordance with this Agreesnent. such failure shall
be considered substantial nonperformance and cause for termination or, st the Arobltcct’s optiou. cause for
suspension ofperi'c):cuancc of services under this Agreemeut. lt the Architect elects to suspend services, prior to
suspension of sorvlces, the Architect shall give seven days’ written notice to the Owner. In the event cia suspension
of servicesl tha Architect shall have no liability to the Ownsrfor delay or dosage caused the Owner because of such
suspension of services. Bs£ore reasoning services, the Architect shall be paid all sums due prior to suspension and
any expenses incurred in the interruption and resumption of the Architect's services The Architect‘s fees for the
remaining services and the time schedules shall be equitably adlusted.

§ 13._8.2 If the Ptoject is suspended by the Owner for more than 30 consecutive days, the Architect shall be
compensated for services performed prior to notice of such suspension Wben the ijcct is resumed the Architect
shall be couponsst £or expenses incurred in the interruption and resumption of the Arclrltect's sm‘vlces. The
Alchitect's fees for the remaining services md the time schedules shall be equitably adjusted _

 

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Case 7:15-cv-OO465 Document 1-13 Filed in TXSD on 11/06/15 Page 45 of 50

C-5149-14-H

§ t.$.ll.$ Ifthe Projectis snapended.or the Architect’s services are suspended for more than 90 consecutive days, the
Architect may terminate this Agreement by giving not loss than seven days' written noticc.

§ 1.3.8.4 'l'hla Agteement may he terminated by either party upon not less than seven days' written notice should the
other party fail substantially to perform in accordance with the terms of this Agreement through no fault of the party
initiating the termination

§ 1-3-_8.5 This Agreement may he terminated by the Owner upon not less than seven days’ written notice to the
Architect for the Ownar's convenience and without cause

§ 1.3.8.8 In the event of termination not the fault of the Architect1 the Architect shall be compensated for services
perfomd prior to termination together with Reimbursable Expenses then due and all Termination Bxpenses as
defined la Secdon 1.3.8.7. '

l § 1.3.8.1 Tennination Expenses are in addition to compensation for the services of the Agreement

§ 1.3.9 PAYMENTS TO THE ARCH|TECT

§ 1.3.9.1 Payments on account of services rendered and for Reimbursable Expenses incurred shall be made monthly
upon presentation o'f the Architech statement of services No deductions shall be made from the Architect's
compensation on account of penalty, liquidated damages or other sums withheld frompayments to contractors or on
account of the cost of changes in the Work other than those for which the Architect has been adjudged to be liable

§ 1.3.9.2 Retmhtnsable Expenses me in addition to compensation for the Architect‘s services and include expenses
incurred by the Architect and Architect’s employees and consultants directly related to the Projoct1 as identified in
the following Clauses: _

.1 transportation in connection with the Project, authorized out-of-town travel and subolstence, and
electronic oommunications;

.2 fees paid for securing approval of authorities having jurisdiction over the Project; '

.3 reproductions, plots, standard form documents, postage, handling and delivery of Instrtunents of
Service;

.4 expense of overtime work requiring higher thanregular rates if authorized in advance by the Owner;

.5 rendarings, models and mock-ups requested by the Owner;

.6 expense of professional liability insurance dedicated exclusively to this Project or the expense of
additional instances coverage or limits requested by the Owner in excess of that aomally carried by
the Architect and the Architect's consultants;

.7 reimbursable expenses as designated in Section 1.5.5;

.8 other similar direct Project-relaaed expendlmres.

§ 1.3.9.3 Recorda of Rnlmbnrsahle Expenaos, of expenses pas-mining to a Change in Services, and of services
performed on the basis of hourly rates or a multiple ofDlrect Personnel Bxpense shall be available to the Owner or
the Owner’s authorized womentalivo at mutually convenient times. -

§ 1.3.!.4 Direot Personnel E.xpense is detined ss the direct salaries of the Architeot‘s personnel 611£88¢¢1 03 1115
Prcject and the portion of the cost of their mandatory and customary contributions and become related tharetc. such
as employment taxes and other statutory employee benefits, insurance, sick leave, holidaya, vacatlons, employee
retirement plans and similar oontl'lbutions.

ARI'IGLE 1.4 BGOPE 0F SERVlCES AND Oll'lER SPECIAL TERMS AND COND|T|ONS

§ 1.4~.1 Enumeration ot’Part.s of the Agromnent. 'I'his Azrecmentrepresents me entire and integrated ameemaot
between the Owner and the Architect and supersedes all prior negotiatioas, representations or agreements, either
written or oral. This Agreement may he extended only by written instrument signed by both Owner and Architect
This Agreemnut comprises the documents listed below. '

§ 1.4.1_.1 Standard Form of Agceement Between Owner and Architect, AlA DooumentB 141-1997.

 

Nl\ Doetlmlnt Bt¢tf"l -100‘! Pllt'l. llopr 0191?.1926,1948. 1811 ,1¥53. 1958. thel, lBBS. 1968, 1987. 1910, 1974.|9??.163? and 1987 hy'lhe
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Case 7:15-cv-OO465 Document 1-13 Filed in TXSD on 11/06/15 Page 46 of 50 -

C-5149-14-H

§ 1.4.1.2 Standard Form of Architect's Serviccs: Design and Contract Administration, AIA Document B 141-1997,or
as follows: -
(List other docwnents, ffany, delineating Architect 's scope of services.)

1. Venue tier any disputes or suits shall be in Hidnlgo County, Texas

2. Owner shall pay reproduction costs for acts of Drawings and Specidcatioos as may be required for Bidding
andConatrucdon pnrposes. '

3. Owner shell pay the required fees for review of the Constmction Documents by the ‘I'cxns Departmcnt of
Llcensing and chnlations for compliance with the 'I`exas Acceesibility Stands (T.A.S.)

4. _ In the event that the State of 'I'exae legislated a sales not on Profcssional Services. the amount of the tax
applicable to the Projcct will be added to Architect’s invoices.

5. The ’I'exas Board of Architecmrnl Examiners, 333 Guada!upe, Suite 2350, Austin, Texas 78701-3942, Tel.
(512) 303-9000, has jm'lsdictlon over individuals licensed under the Architects Registration Law, Articlc
249a, chon's Civil Smtnea.

6. Should the Owner orClient request changes to the SCOPE OF SERVICBS or if additional services arc
n'.>qut’nttcdl all incurred costs shall be billed on a time and materials basis tn accordance with an approved
rate schedule nn estimate of additional costs willbe provided at an additional cost, if not provided by the
Owner.

7. Beelc design services do not include survey for, or remediation design of, hazardous material in existing
buildings or on the project site. Thesc services can be pmvidcd at on additional cost, Lt' not provided by the
Owner.

8. Boeic design services do not include the design for extension of off-site utilities to the project aite, or the
provision of service npgredea orimprovemaots outside of the immediate project area on the campus. 'l`hese
serviced if required can be provided as on additional service

9. Bas_lc design services do not include historical restoration work which maybe requioed by the Texes
Historical Commission. 'Based on the initial investigation perfonned by Mr. Reno Campos. the Bld High
School building has a designation as a I-Iiatorical Marltcr and not that of a Hiswrical lmdnmrk. Tbeeo
services, it’chnired, can be provided as an additional service

 

§ 1.4.1.3 Otber documents as follower
(Llst other dacwncnts, 17 any, forming parr ofthe Agreemnt.)

§ 1.4.2 Spectal Terms and Condittons. Special terms and conditions that modify this Agreement- are as follower

ART|CLE 1.5 COMPENSATION
§ 1.5.1 For the Architect’s services as described under Article 1.4, compensation shall,be computed as follows:

Project Plannlng Stage Basic' Servic.es:
Campus Master Planning 515,000.00
Facllity ngramm|ng (including estimate) for Phase I $12,000.00

| 6% times the cost of work for new construction
?.75% times the coat of work for adaptive renovation work.
§ 1.5.2 _If the services of the Architect are changed as described in Section 1.3.3.1. the Architect’a conn)enaaiion shall
be ddjnsted. Such adjustment shell be calculated as described below or, ifno method of adjustment is indicated in
this Sectioo 1.5.2, in an equitable manner.
fi'm'er¢ basis qfoompeneatlon, including miss and examples ofD:'rect Pcrsonnel Exp¢mefor Principals and
midtown ` and identin Pr£nc!pa£s and classify employees b" required Identb"y specific services co which particular
nethodr qfcompmrton apply.)

Hourly Rnte Schcdulc:

 

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Case 7:15-cv-OO465 Document 1-13 Filed in TXSD on 11/06/15 Page 47 of 50

C-5149-14-H

'- “j 1. Pna¢ipsn _ stso.oo
. 2. Architects and Englnenrs other than Principais: $140.00

3. CADD-Computer Aldod Dasigo &Drafiing: 3120.00

4. Intems andDesigners $ 85.00

§ 1.5.3 For s Chnnge in Servioes of the Architect's consultants compensation shall be computed as a multiple of
Ono and one-tenth ( l.lD ]times the amounts billed to the Architect for such services

l'1~5.4 _For R_éimhursahls E)q`)onses as described in Soetlon 1.3.9.2, and any other items included in Sectton 1.5.5 as
Reitnbnrsahle Expsnsss.-the compensation shall be computed as a multiple of One and one-tenth ( l.l(l ) times the
expenses incurred by tho-Archltoet, and the Architect’s employees and consultants.

 

§ 1.5.5 Other Reimllursable Expenses, if any, are as follower

§ 1.5.6 The rates and nmitiples for services of the Architect and the Architect’s consultants as set forth in this
Agreemont shall be adjusted in accordance with their normal salary review practices

§ 1,5.1 An initial,paymant of ano Dollars and Ze.to Cents ($ 0.00) shall he made upon execution of this
Agreement and is the minimum payment under this Agr¢:ement. lt shall be credited to the Owner's account at final
payrl:nnt. Bubsequoutpaym'snts for services shall be made monthly, and where applicable. Shbll be in Proport`l°n ¥0
services performed on tim basis set forth in this Ag'oemoni.

Thll'ty (Sil )days afterthsinvoios dateshall beariniersst attherate entotodhelow,orlnthe abseneethereofatthe
legal rate prevailing from time to time'at the principal place of business of the Architect
) (Msen‘mss qfinterest agreed moral

l it.s.s hyman manueannpayahta may t an mm nom nn moto¢ar¢atnct's mvnice. mann unpaid

l I..egal prevailing rate in Hidalgo County, Texas

(Usury._ laws and mgutr~smenrs undsr the Federoi Mh in leading Acr, similm' store and local comm credit laws
dod other rognkzriorlr at she Own¢r',r and Ardlitect’sprinct'paiplaoos qfl:usiness, drs Ioc¢nton qf¢he Praject and
elman may q§'eot the validity qftkis pmtision. Spoc§‘ic legal advice s£ouid be obtained with respect to deletions
or md#loan’or:s, and also mgnrdhtg requirements such as written disclosures or wisers.)

the date.hereof. through no fault of the Archileet, extension of tha Areltiteet's servicesbeyond that time shall bn

| § 1.5.9 litho services devoted l')y this Agrnamont have not bean completed within 'I’hltty-six ( 36 } months of
componst ss provided in Seotion 1.5.2.

This Agreenient colored into as of the day and year first written above.

F/d j““°"“‘_"//M'/ZL__ .

   

 

 

 

 

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AGREEMENT made as of the Mday ofng_thg_ln the yeang_B_.

 

.1 Amonnt of the Ownec’e overall budget for the Projecc, lncluding the Architect’s compensation, is:

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Case 7:15-cv-OO465 Document 1-13 Filed in TXSD on 11/06/15 Page 49 of 50

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.2 Amount of the Ownor' s budgetit for the Cost of the Work, excluding the Architect’s componeatio , is:

 

 

 

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